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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
DWIGHT RUSSELL, ET AL.
    On behalf of themselves and all
    Others similarly situated,

      Plaintiffs,

v.                                          C.A. No. 4:19-CV-00226

HARRIS COUNTY, TEXAS, ET AL.,
    Defendants.



              NON-PARTY FELONY JUDGES’ MOTION TO QUASH




                              Exhibit J

                      Affidavit of Eileen Gaffney
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION
 DWIGHT RUSSELL, ET AL.
     On behalf of themselves and all
     Others similarly situated,

           Plaintiffs,

 v.                                                           C.A. No. 4:19-CV-00226

 HARRIS COUNTY, TEXAS, ET AL.,
     Defendants.



      My name is Eileen Marie Gaffney and I am over the age of 18 and fully competent to make

this declaration and state the following:

      1. I am currently employed as a staff attorney in District Court Administration.
      2. I am one of two staff attorneys. My primary role is to assist the civil, family and juvenile
          district courts, and to assist with administration matters. My start date was January 1, 2019.
      3. I also currently serve as a liaison between Ms. Corbello and her team and the 22 district
          court felony judges represented by the State of Texas Attorney General’s Office.
      4. I have been provided with a copy of the “Subpoena to Produce Documents, Information,
          or Objects or to Permit Inspection of Premises in a Civil Action” issued to Judge Frank
          Aguilar.
      5. The Subpoena I reviewed has requests 5-27, and seeks documents from January 1, 2015
          forward.
      6. Some of the requests seek documents that would be privileged (communications between
          the judges and staff attorneys, or his or her OAG trial counsel). Ms. Corbello and her team
          will need to review those documents for privilege and properly mark and segregate.
      7. Some of the requests seek documents which would be confidential in nature and not usually
          subject to disclosure. Examples include Request 22, to the extent a case is on-going (See
          Morrison v. State, 575 S.W.3d 1 (Tex. App. – Texarkana 2019, no pet), and Request 25
          (See Rule 17 of the Procedural Rules for the Removal or Retirement of Judges – Adopted
          and Promulgated Pursuant to Article V, Section 1-a(11) of the Texas Constitution)).
      8. For each of the requests, based upon the timeline sought, the requests seek documents of a
          predecessor for one or more benches which may or may not be accessible / obtainable.
      9. Additionally, many of the requests seek records which are not judicial records and for
          which the judiciary are not the custodian of those records.
      10. Rule 12 of the Texas Rules of Judicial Administration (attached) defines “judicial records”.
          In short, judicial records are records “made or maintained by or for a court or judicial
          agency in its regular course of business but not pertaining to its adjudicative function,
          regardless of whether that function relates to a specific case.” See Rule 12.


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   11. Court case records, for example, are adjudicative records. These records are typically held
       for a court by a judicial agency such as the district clerk, pretrial services or community
       supervision and corrections departments. Court case records are not judicial records and
       access to court case records are governed by common law, statutory law or constitutional
       law.
   12. For ease of reference, I am also attaching a copy of Morrison v. State and the Procedural
       Rules for the Removal or Retirement of Judges.
   13. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
       and correct

Further affiant sayeth not.
       Executed on: March 2, 2021.
                                                    ________________________
                                                          Eileen Gaffney




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                                             RULE 12

                         RULES OF JUDICIAL ADMINISTRATION



Rule 12. Public Access to Judicial Records

12.1 Policy. The purpose of this rule is to provide public access to information in the judiciary
consistent with the mandates of the Texas Constitution that the public interests are best served by
open courts and by an independent judiciary. The rule should be liberally construed to achieve its
purpose.

12.2 Definitions. In this rule:

(a) Judge means a regularly appointed or elected judge or justice.

(b) Judicial agency means an office, board, commission, or other similar entity that is in the
Judicial Department and that serves an administrative function for a court. A task force or
committee created by a court or judge is a "judicial agency".

(c) Judicial officer means a judge, former or retired visiting judge, referee, commissioner, special
master, court-appointed arbitrator, or other person exercising adjudicatory powers in the
judiciary. A mediator or other provider of non-binding dispute resolution services is not a
"judicial officer".

(d) Judicial record means a record made or maintained by or for a court or judicial agency in its
regular course of business but not pertaining to its adjudicative function, regardless of whether
that function relates to a specific case. A record of any nature created, produced, or filed in
connection with any matter that is or has been before a court is not a judicial record. A record is
a document, paper, letter, map, book, tape, photograph, film, recording, or other material,
regardless of electronic or physical form, characteristics, or means of transmission.

(e) Records custodian means the person with custody of a judicial record determined as follows:

(1) The judicial records of a court with only one judge, such as any trial court, are in the custody
of that judge. Judicial records pertaining to the joint administration of a number of those courts,
such as the district courts in a particular county or region, are in the custody of the judge who
presides over the joint administration, such as the local or regional administrative judge.

(2) The judicial records of a court with more than one judge, such as any appellate court, are in
the custody of the chief justice or presiding judge, who must act under this rule in accordance
with the vote of a majority of the judges of the court. But the judicial records relating specifically
to the service of one such judge or that judge's own staff are in the custody of that judge.

(3) The judicial records of a judicial officer not covered by subparagraphs (1) and (2) are in the
custody of that officer.
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(4) The judicial records of a judicial agency are in the custody of its presiding officer, who must
act under this rule in accordance with agency policy or the vote of a majority of the members of
the agency.

12.3 Applicability. This rule does not apply to:

(a) records or information to which access is controlled by:

(1) a state or federal court rule, including:

(A) a rule of civil or criminal procedure, including Rule 76a, Texas Rules of Civil Procedure;

(B) a rule of appellate procedure;

(C) a rule of evidence;

(D) a rule of administration;

(2) a state or federal court order not issued merely to thwart the purpose of this rule;

(3) the Code of Judicial Conduct;

(4) Chapter 552, Government Code, or another statute or provision of law;

(b) records or information to which Chapter 552, Government Code, is made inapplicable by
statute, rule, or other provision of law, other than Section 552.003(1)(B);

(c) records or information relating to an arrest or search warrant or a supporting affidavit, access
to which is controlled by:

(1) a state or federal court rule, including a rule of civil or criminal procedure, appellate
procedure, or evidence; or

(2) common law, court order, judicial decision, or another provision of law

(d) elected officials other than judges.

12.4 Access to Judicial Records.

(a) Generally. Judicial records other than those covered by Rules 12.3 and 12.5 are open to the
general public for inspection and copying during regular business hours. But this rule does not
require a court, judicial agency, or records custodian to:

(1) create a record, other than to print information stored in a computer;

(2) retain a judicial record for a specific period of time;

(3) allow the inspection of or provide a copy of information in a book or publication
commercially available to the public; or
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(4) respond to or comply with a request for a judicial record from or on behalf of an individual
who is imprisoned or confined in a correctional facility as defined in Section 1.07(a), Penal
Code, or in any other such facility in any state, federal, or foreign jurisdiction.

(b) Voluntary Disclosure. A records custodian may voluntarily make part or all of the
information in a judicial record available to the public, subject to Rules 12.2(e)(2) and 12.2(e)(4),
unless the disclosure is expressly prohibited by law or exempt under this rule, or the information
is confidential under law. Information voluntarily disclosed must be made available to any
person who requests it.

12.5 Exemptions from Disclosure. The following records are exempt from disclosure under this
rule:

(a) Judicial Work Product and Drafts. Any record that relates to a judicial officer's adjudicative
decision-making process prepared by that judicial officer, by another judicial officer, or by court
staff, an intern, or any other person acting on behalf of or at the direction of the judicial officer.

(b) Security Plans. Any record, including a security plan or code, the release of which would
jeopardize the security of an individual against physical injury or jeopardize information or
property against theft, tampering, improper use, illegal disclosure, trespass, unauthorized access,
or physical injury.

(c) Personnel Information. Any personnel record that, if disclosed, would constitute a clearly
unwarranted invasion of personal privacy.

(d) Home Address and Family Information. Any record reflecting any person's home address,
home or personal telephone number, social security number, or family members.

(e) Applicants for Employment or Volunteer Services. Any records relating to an applicant for
employment or volunteer services.

(f) Internal Deliberations on Court or Judicial Administration Matters. Any record relating to
internal deliberations of a court or judicial agency, or among judicial officers or members of a
judicial agency, on matters of court or judicial administration.

(g) Court Law Library Information. Any record in a law library that links a patron's name with
the materials requested or borrowed by that patron.

(h) Judicial Calendar Information. Any record that reflects a judicial officer's appointments or
engagements that are in the future or that constitute an invasion of personal privacy.

(i) Information Confidential Under Other Law. Any record that is confidential or exempt from
disclosure under a state or federal constitutional provision, statute or common law, including
information that relates to:

(1) a complaint alleging misconduct against a judicial officer, if the complaint is exempt from
disclosure under Chapter 33, Government Code, or other law;
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(2) a complaint alleging misconduct against a person who is licensed or regulated by the courts,
if the information is confidential under applicable law; or

(3) a trade secret or commercial or financial information made privileged or confidential by
statute or judicial decision.

(j) Litigation or Settlement Negotiations. Any judicial record relating to civil or criminal
litigation or settlement negotiations:

(1) in which a court or judicial agency is or may be a party; or

(2) in which a judicial officer or member of a judicial agency is or may be a party as a
consequence of the person's office or employment.

(k) Investigations of Character or Conduct. Any record relating to an investigation of any
person's character or conduct, unless:

(1) the record is requested by the person being investigated; and

(2) release of the record, in the judgment of the records custodian, would not impair the
investigation.

(l) Examinations. Any record relating to an examination administered to any person, unless
requested by the person after the examination is concluded.

12.6 Procedures for Obtaining Access to Judicial Records.

(a) Request. A request to inspect or copy a judicial record must be in writing and must include
sufficient information to reasonably identify the record requested. The request must be sent to
the records custodian and not to a court clerk or other agent for the records custodian. A
requestor need not have detailed knowledge of the records custodian's filing system or
procedures in order to obtain the information.

(b) Time for Inspection and Delivery of Copies. As soon as practicable--and not more than 14
days--after actual receipt of a request to inspect or copy a judicial record, if the record is
available, the records custodian must either:

(1) allow the requestor to inspect the record and provide a copy if one is requested; or

(2) send written notice to the requestor stating that the record cannot within the prescribed period
be produced or a copy provided, as applicable, and setting a reasonable date and time when the
document will be produced or a copy provided, as applicable.

(c) Place for Inspection. A records custodian must produce a requested judicial record at a
convenient, public area.

(d) Part of Record Subject to Disclosure. If part of a requested record is subject to disclosure
under this rule and part is not, the records custodian must redact the portion of the record that is
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not subject to disclosure, permit the remainder of the record to be inspected, and provide a copy
if requested.

(e) Copying; Mailing. The records custodian may deliver the record to a court clerk for copying.
The records custodian may mail the copy to a requestor who has prepaid the postage.

(f) Recipient of Request not Custodian of Record. A judicial officer or a presiding officer of a
judicial agency who receives a request for a judicial record not in his or her custody as defined
by this rule must promptly attempt to ascertain who the custodian of the record is. If the recipient
of the request can ascertain who the custodian of the requested record is, the recipient must
promptly refer the request to that person and notify the requestor in writing of the referral. The
time for response prescribed in Rule 12.6(b) does not begin to run until the referral is actually
received by the records custodian. If the recipient cannot ascertain who the custodian of the
requested record is, the recipient must promptly notify the requestor in writing that the recipient
is not the custodian of the record and cannot ascertain who the custodian of the record is.

(g) Inquiry to Requestor. A person requesting a judicial record may not be asked to disclose the
purpose of the request as a condition of obtaining the judicial record. But a records custodian
may make inquiry to establish the proper identification of the requestor or to clarify the nature or
scope of a request.

(h) Uniform Treatment of Requests. A records custodian must treat all requests for information
uniformly without regard to the position or occupation of the requestor or the person on whose
behalf a request is made, including whether the requestor or such person is a member of the
media.

12.7 Costs for Copies of Judicial Records; Appeal of Assessment.

(a) Cost. The cost for a copy of a judicial record is either:

(1) the cost prescribed by statute, or

(2) if no statute prescribes the cost, the actual cost, as defined in Section 111.62, Title 1, Texas
Administrative Code, not to exceed 125 percent of the amount prescribed by the General
Services Commission for providing public information under Title 1, Texas Administrative
Code, Sections 111.63, 111.69, and 111.70.

(b) Waiver or Reduction of Cost Assessment by Records Custodian. A records custodian may
reduce or waive the charge for a copy of a judicial record if:

(1) doing so is in the public interest because providing the copy of the record primarily benefits
the general public, or

(2) the cost of processing collection of a charge will exceed the amount of the charge.

(c) Appeal of Cost Assessment. A person who believes that a charge for a copy of a judicial
record is excessive may appeal the overcharge in the manner prescribed by Rule 12.9 for the
appeal of the denial of access to a judicial record.
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(d) Records Custodian not Personally Responsible for Cost. A records custodian is not required
to incur personal expense in furnishing a copy of a judicial record.

12.8 Denial of Access to a Judicial Record.

(a) When Request May be Denied. A records custodian may deny a request for a judicial record
under this rule only if the records custodian:

(1) reasonably determines that the requested judicial record is exempt from required disclosure
under this rule; or

(2) makes specific, non-conclusory findings that compliance with the request would substantially
and unreasonably impede the routine operation of the court or judicial agency.

(b) Time to Deny. A records custodian who denies access to a judicial record must notify the
person requesting the record of the denial within a reasonable time--not to exceed 14 days--after
receipt of the request, or before the deadline for responding to the request extended under Rule
12.6 (b)(2).

(c) Contents of Notice of Denial. A notice of denial must be in writing and must:

(1) state the reason for the denial;

(2) inform the person of the right of appeal provided by Rule 12.9; and

(3) include the name and address of the Administrative Director of the Office of Court
Administration.

12.9 Relief from Denial of Access to Judicial Records.

(a) Appeal. A person who is denied access to a judicial record may appeal the denial by filing a
petition for review with the Administrative Director of the Office of Court Administration.

(b) Contents of Petition for Review. The petition for review:

(1) must include a copy of the request to the record custodian and the records custodian's notice
of denial;

(2) may include any supporting facts, arguments, and authorities that the petitioner believes to be
relevant; and

(3) may contain a request for expedited review, the grounds for which must be stated.

(c) Time for Filing. The petition must be filed not later than 30 days after the date that the
petitioner receives notice of a denial of access to the judicial record.

(d) Notification of Records Custodian and Presiding Judges. Upon receipt of the petition for
review, the Administrative Director must promptly notify the records custodian who denied
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access to the judicial record and the presiding judge of each administrative judicial region of the
filing of the petition.

(e) Response. A records custodian who denies access to a judicial record and against whom relief
is sought under this section may--within 14 days of receipt of notice from the Administrative
Director--submit a written response to the petition for review and include supporting facts and
authorities in the response. The records custodian must mail a copy of the response to the
petitioner. The records custodian may also submit for in camera inspection any record, or a
sample of records, to which access has been denied.

(f) Formation of Special Committee. Upon receiving notice under Rule 12.9(d), the presiding
judges must refer the petition to a special committee of not less than five of the presiding judges
for review. The presiding judges must notify the Administrative Director, the petitioner, and the
records custodian of the names of the judges selected to serve on the committee.

(g) Procedure for Review. The special committee must review the petition and the records
custodian's response and determine whether the requested judicial record should be made
available under this rule to the petitioner. The special committee may request the records
custodian to submit for in camera inspection a record, or a sample of records, to which access
has been denied. The records custodian may respond to the request in whole or in part but it not
required to do so.

(h) Considerations. When determining whether the requested judicial record should be made
available under this rule to petition, the special committee must consider:

(1) the text and policy of this Rule;

(2) any supporting and controverting facts, arguments, and authorities in the petition and the
response; and

(3) prior applications of this Rule by other special committees or by courts.

(i) Expedited Review. On request of the petitioner, and for good cause shown, the special
committee may schedule an expedited review of the petition.

(j) Decision. The special committee's determination must be supported by a written decision that
must:

(1) issue within 60 days of the date that the Administrative Director received the petition for
review;

(2) either grant the petition in whole or in part or sustain the denial of access to the requested
judicial record;

(3) state the reasons for the decision, including appropriate citations to this rule; and

(4) identify the record or portions of the record to which access is ordered or denied, but only if
the description does not disclose confidential information.
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(k) Notice of Decision. The special committee must send the decision to the Administrative
Director. On receipt of the decision from the special committee, the Administrative Director
must:

(1) immediately notify the petitioner and the records custodian of the decision and include a copy
of the decision with the notice; and

(2) maintain a copy of the special committee's decision in the Administrative Director's office for
public inspection.

(l) Publication of Decisions. The Administrative Director must publish periodically to the
judiciary and the general public the special committees' decisions.

(m) Final Decision. A decision of a special committee under this rule is not appealable but is
subject to review by mandamus.

(n) Appeal to Special Committee Not Exclusive Remedy. The right of review provided under
this subdivision is not exclusive and does not preclude relief by mandamus.

12.10 Sanctions. A records custodian who fails to comply with this rule, knowing that the failure
to comply is in violation of the rule, is subject to sanctions under the Code of Judicial Conduct.

                                           Comments

1. Although the definition of "judicial agency" in Rule 12.2(b) is comprehensive, applicability of
the rule is restricted by Rule 12.3. The rule does not apply to judicial agencies whose records are
expressly made subject to disclosure by statute, rule, or law. An example is the State Bar ("an
administrative agency of the judicial department", Tex. Gov't Code § 81.011(a)), which is subject
to the Public Information Act. Tex. Gov't Code § 81.033. Thus, no judicial agency must comply
with both the Act and this rule; at most one can apply. Nor does the rule apply to judicial
agencies expressly excepted from the Act by statute (other than by the general judiciary
exception in section 552.003(b) of the Act), rule, or law. Examples are the Board of Legal
Specialization, Tex. Gov't Code § 81.033, and the Board of Disciplinary Appeals, Tex. R.
Disciplinary App. 7.12. Because these boards are expressly excepted from the Act, their records
are not subject to disclosure under this rule, even though no law affirmatively makes their
records confidential. The Board of Law Examiners is partly subject to the Act and partly exempt,
Tex. Gov't Code § 82.003, and therefore this rule is inapplicable to it. An example of a judicial
agency subject to the rule is the Supreme Court Advisory Committee, which is neither subject to
nor expressly excepted from the Act, and whose records are not made confidential by any law.

2. As stated in Rule 12.4, this rule does not require the creation or retention of records, but
neither does it permit the destruction of records that are required to be maintained by statute or
other law, such as Tex. Gov't Code §§ 441.158-.167, .180-.203; Tex. Local Gov't Code ch. 203;
and 13 Tex. Admin. Code § 7.122.

3. Rule 12.8 allows a records custodian to deny a record request that would substantially and
unreasonably impede the routine operation of the court or judicial agency. As an illustration, and
not by way of limitation, a request for "all judicial records" that is submitted every day or even
every few days by the same person or persons acting in concert could substantially and
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unreasonably impede the operations of a court or judicial agency that lacked the staff to respond
to such repeated requests.
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     PROCEDURAL RULES
      FOR THE REMOVAL
  OR RETIREMENT OF JUDGES
 (Adopted and Promulgated Pursuant to Article V, Section 1-a(11), Texas Constitution)

 RULE 1. DEFINITIONS
 In these rules, unless the context or subject matter otherwise requires:
     (a) "Commission" means the State Commission on Judicial Conduct.
     (b) "Judge" means any Justice or Judge of the Appellate Courts and District and Criminal
 District Courts; any County Judge; any Judge of a County Court-at-Law, a Probate Court, or
 a Municipal Court; any Justice of the Peace; any Judge or presiding officer of any special
 court created by the Legislature; any retired judge or former judge who continues as a judicial
 officer subject to assignment to sit on any court of the state; and, any Master or Magistrate
 appointed to serve a trial court of this state.
     (c) "Chairperson" includes the acting Chairperson of the Commission.
    (d) "Special Master" means an individual appointed by the Supreme Court upon request
 of the Commission pursuant to Article V, Section 1-a, Paragraph (8) of the Texas
 Constitution.
     (e) "Sanction" means any admonition, warning, reprimand, or requirement that the person
 obtain additional training or education, issued publicly or privately, by the Commission
 pursuant to the provisions of Article V, Section 1-a, Paragraph (8) of the Texas Constitution.
 A sanction is remedial in nature. It is issued prior to the institution of formal proceedings to
 deter similar misconduct by a judge or judges in the future, to promote proper administration
 of justice, and to reassure the public that the judicial system of this state neither permits nor
 condones misconduct.
     (f) "Censure" means an order issued by the Commission pursuant to the provisions of
 Article V, Section 1-a, Paragraph (8) of the Texas Constitution or an order issued by a Review
 Tribunal pursuant to the provisions of Article V, Section 1-a, Paragraph (9) of the Texas
 Constitution. An order of censure is tantamount to denunciation of the offending conduct, and
 is more severe than the remedial sanctions issued prior to a formal hearing.
     (g) "Special Court of Review" means a panel of three court of appeals justices selected by
 lot by the Chief Justice of the Supreme Court on petition, to review a censure or sanction
 issued by the Commission.
     (h) "Review Tribunal" means a panel of seven court of appeals justices selected by lot by
 the Chief Justice of the Supreme Court to review the Commission's recommendation for the
 removal or retirement of a judge as provided in Article V, Section 1-a, Paragraph (9) of the
 Texas Constitution.


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     (i) "Formal Proceeding" means the proceedings ordered by the Commission concerning
 the possibility of public censure, removal, or retirement of a judge.
     (j) "Examiner" means the person, including appropriate Commission staff or Special
 Counsel, appointed by the Commission to gather and present evidence before a special master,
 or the Commission, a Special Court of Review or a Review Tribunal.
     (k) "Shall" is mandatory and "may" is permissive.
     (l) "Mail" means First Class United States Mail.
     (m) The masculine gender includes the feminine gender.

 RULE 2. MAILING OF NOTICES AND OF OTHER MATTER
     Whenever these rules provide for giving notice or sending any matter to a judge, the same
 shall, unless otherwise expressly provided by the rules or requested in writing by the judge, be
 sent to him by mail at his office or last known place of residence; provided, that when the
 judge has a guardian or guardian ad litem, the notice or matter shall be sent to the guardian or
 guardian ad litem by mail at his office or last known place of residence.

 RULE 3. PRELIMINARY INVESTIGATION
     (a) The Commission may, upon receipt of a verified statement, upon its own motion, or
 otherwise, make such preliminary investigation as is appropriate to the circumstances relating
 to an allegation or appearance of misconduct or disability of any judge to determine that such
 allegation or appearance is neither unfounded nor frivolous.
    (b) If the preliminary investigation discloses that the allegation or appearance is
 unfounded or frivolous, the Commission shall terminate further proceedings.

 RULE 4. FULL INVESTIGATION
     (a) If the preliminary investigation discloses that the allegations or appearances are neither
 unfounded nor frivolous, or if sufficient cause exists to warrant full inquiry into the facts and
 circumstances indicating that a judge may be guilty of willful or persistent conduct which is
 clearly inconsistent with the proper performance of his duties or casts public discredit upon the
 judiciary or the administration of justice, or that he has a disability seriously interfering with
 the performance of his duties, which is, or is likely to become, permanent in nature, the
 Commission shall conduct a full investigation into the matter.
    (b) The Commission shall inform the judge in writing that an investigation has
 commenced and of the nature of the matters being investigated.
     (c) The Commission may request the judge's response in writing to the matters being
 investigated.

 RULE 5. ISSUANCE, SERVICE, AND RETURN OF SUBPOENAS
     (a) In conducting an investigation, formal proceedings, or proceedings before a Special
 Court of Review, the Chairperson or any member of the Commission, or a special master
 when a hearing is being conducted before a special master, or member of a Special Court of
 Review, may, on his own motion, or on request of appropriate Commission staff, the
 examiner, or the judge, issue a subpoena for attendance of any witness or witnesses who may
 be represented to reside within the State of Texas.

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     (b) The style of the subpoena shall be "The State of Texas". It shall state the style of the
 proceeding, that the proceeding is pending before the Commission, the time and place at
 which the witness is required to appear, and the person or official body at whose instance the
 witness is summoned. It shall be signed by the Chairperson or some other member of the
 Commission, or by the special master when a hearing is before the special master, and the
 date of its issuance shall be noted thereon. It shall be addressed to any peace officer of the
 State of Texas or to a person designated by the Chairperson to make service thereof.
    (c) A subpoena may also command the person to whom it is directed to produce the
 books, papers, documents or tangible things designated therein.
     (d) Subpoenas may be executed and returned at any time, and shall be served by
 delivering a copy of such subpoena to the witness; the person serving the subpoena shall make
 due return thereof, showing the time and manner of service, or service thereof may be
 accepted by any witness by a written memorandum, signed by such witness, attached to the
 subpoena.

 RULE 6. INFORMAL APPEARANCE
     (a) Before terminating an investigation, the Commission may offer a judge an opportunity
 to appear informally before the Commission.
     (b) An informal appearance is confidential except that the judge may elect to have the
 appearance open to the public or to any person or persons designated by the judge. The right
 to an open appearance does not preclude placing of witnesses under the rule as provided by
 Rule 267 of the Texas Rules of Civil Procedure.
     (c) No oral testimony other than the judge's shall be received during an informal
 appearance, although documentary evidence may be received. Testimony of the judge shall
 be under oath, and a recording of such testimony taken. A copy of such recording shall be
 furnished to the judge upon request.
    (d) The judge may be represented by counsel at the informal appearance.
    (e) Notice of the opportunity to appear informally before the Commission shall be given
 by mail at least ten (10) days prior to the date of the scheduled appearance.
 RULE 7. COMMISSION VOTING
       (a) A quorum shall consist of seven (7) members. Proceedings shall be by majority
 vote of those present, except that recommendations for retirement, censure, suspension or
 removal of any Judge shall be by affirmative vote of at least seven (7) members.

 RULE 8. RESERVED FOR FUTURE PROMULGATION

 RULE 9. REVIEW OF COMMISSION DECISION
     (a) A judge who has received from the Commission a sanction in connection with a
 complaint filed subsequent to September 1, 1987, may file with the Chief Justice of the
 Supreme Court a written request for appointment of a Special Court of Review, not later than
 the 30th day after the date on which the Commission issued its sanction.
     (b) Within 15 days after appointment of the Special Court of Review, the Commission
 shall furnish the petitioner and each justice on the Special Court of Review a charging
 document which shall include a copy of the sanction issued as well as any additional charges
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 to be considered in the de novo proceeding and the papers, documents, records, and evidence
 upon which the Commission based its decision. The sanction and other records filed with the
 Special Court of Review are public information upon filing with the Special Court of Review.
     (c) Within 30 days after the date upon which the Commission files the charging document
 and related materials with the Special Court of Review, the Special Court of Review shall
 conduct a hearing. The Special Court of Review may, if good cause is shown, grant one or
 more continuances not to exceed a total of 60 days. The procedure for the hearing shall be
 governed by the rules of law, evidence, and procedure that apply to civil actions, except the
 judge is not entitled to trial by jury, and the Special Court of Review's decision shall not be
 appealable. The hearing shall be held at a location determined by the Special Court of Review,
 and shall be public.
      (d) Decision by the Special Court of Review may include dismissal, affirmation of the
 Commission's decision, imposition of a lesser or greater sanction, or order to the Commission
 to file formal proceedings.
     (e) The opinion by the Special Court of Review shall be published if, in the judgment of a
 majority of the justices participating in the decision, it is one that (1) establishes a new rule of
 ethics or law, alters or modifies an existing rule, or applies an existing rule to a novel fact
 situation likely to recur in future cases; (2) involves a legal or ethical issue of continuing
 public interest; (3) criticizes existing legal or ethical principles; or (4) resolves an apparent
 conflict of authority. A concurring or dissenting opinion may be published if, in the judgment
 of its author, it meets one of the above indicated criteria, but in such event the majority
 opinion shall be published as well.

 RULE 10. FORMAL PROCEEDINGS
 (a) NOTICE
     (1)      If after the investigation has been completed the Commission concludes that
 formal proceedings should be instituted, the matter shall be entered in a docket to be kept for
 that purpose and written notice of the institution of formal proceedings shall be issued to the
 judge without delay. Such proceedings shall be entitled:
         "Before the State Commission on Judicial Conduct Inquiry Concerning a
         Judge, No.        "
      (2)     The notice shall specify in ordinary and concise language the charges against the
 judge, and the alleged facts upon which such charges are based and the specific standards
 contended to have been violated, and shall advise the judge of his right to file a written answer
 to the charges against him within 15 days after service of the notice upon him.
     (3)     The notice shall be served by personal service of a copy thereof upon the judge by
 a member of the Commission or by some person designated by the Chairperson, and the
 person serving the notice shall promptly notify the Commission in writing of the date on
 which the same was served. If it appears to the Chairperson upon affidavit that, after
 reasonable effort during a period of 10 days, personal service could not be had, service may
 be made by mailing, by registered or certified mail, copies of the notice addressed to the
 judge at his chambers and at his last known residence, and the date of mailing shall be
 entered in the docket.

 (b)   ANSWER

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     Within 15 days after service of the notice of formal proceedings, the judge may file with
 the Commission an original answer, which shall be verified, and twelve legible copies thereof.
 (c) SETTING DATE FOR HEARING AND REQUEST FOR APPOINTMENT OF A
 SPECIAL MASTER
     (1)       Upon the filing of an answer or upon expiration of the time for its filing, the
 Commission shall set a time and place for hearing before itself or before a special master and
 shall give notice of such hearing by mail to the judge at least 20 days prior to the date set.
     (2)       If the Commission directs that the hearing be before a special master, the
 Commission shall, when it sets a time and place for the hearing, transmit a written request to
 the Supreme Court to appoint a special master for such hearing, and the Supreme Court shall,
 within 10 days from receipt of such request, appoint an active or retired District Judge, a Judge
 of a Court of Civil Appeals, either active or retired, or a retired Justice of the Court of
 Criminal Appeals or Supreme Court to hear and take evidence in such matters.
 (d)   HEARING
     (1)     At the time and place set for hearing, the Commission, or the special master when
 the hearing is before a special master, shall proceed with the hearing as nearly as may be
 according to the rules of procedure governing the trial of civil causes in this State, subject to
 the provisions of Rule 5, whether or not the judge has filed an answer or appears at the
 hearing. The examiner or other authorized officer shall present the case in support of the
 charges in the notice of formal proceedings.
     (2)      The failure of the judge to answer or to appear at the hearing shall not, standing
 alone, be taken as evidence of the truth of the facts alleged to constitute grounds for removal
 or retirement. The failure of the judge to testify in his own behalf or his failure to submit to a
 medical examination requested by the Commission or the master may be considered, unless it
 appears that such failure was due to circumstances unrelated to the facts in issue at the hearing.
     (3)    The proceedings at the hearing shall be reported by a phonographic reporter or by
 some qualified person appointed by the Commission and taking the oath of an official court
 reporter.
     (4)     When the hearing is before the Commission, not less than seven members shall
 be present while the hearing is in active progress. The Chairperson, when present, the Vice-
 Chairperson in the absence of the Chairperson, or the member designated by the
 Chairperson in the absence of both, shall preside. Procedural and other interlocutory rulings
 shall be made by the person presiding and shall be taken as consented to by the other
 members unless one or more calls for a vote, in which latter event such rulings shall be made
 by a majority vote of those present.
 (e) EVIDENCE
     At a hearing before the Commission or a special master, legal evidence only shall be
 received as in the trial of civil cases, except upon consent evidenced by absence of objection,
 and oral evidence shall be taken only on oath or affirmation.

 (f) AMENDMENTS TO NOTICE OR ANSWER
     The special master, at any time prior to the conclusion of the hearing, or the Commission,
 at any time prior to its determination, may allow or require amendments to the notice of

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 formal proceedings and may allow amendments to the answer. The notice may be amended to
 conform to proof or to set forth additional facts, whether occurring before or after the
 commencement of the hearing. In case such an amendment is made, the judge shall be given
 reasonable time both to answer the amendment and to prepare and present his defense against
 the matters charged thereby.
 (g)   PROCEDURAL RIGHTS OF JUDGES
     (1) In the proceedings for his removal or retirement a judge shall have the right to be
 confronted by his accusers, the right and reasonable opportunity to defend against the charges
 by the introduction of evidence, to be represented by counsel, and to examine and cross-
 examine witnesses. He shall also have the right to the issuance of subpoenas for attendance of
 witnesses to testify or produce books, papers and other evidentiary matter.
     (2) When a transcript of the testimony has been prepared at the expense of the
 Commission, a copy thereof shall, upon request, be available for use by the judge and his
 counsel in connection with the proceedings, or the judge may arrange to procure a copy at his
 expense. The judge shall have the right, without any order or approval, to have all or any
 portion of the testimony in the proceedings transcribed at his expense.
     (3) If the judge is adjudged insane or incompetent, or if it appears to the Commission at
 any time during the proceedings that he is not competent to act for himself, the Commission
 shall appoint a guardian ad litem unless the judge has a guardian who will represent him. In
 the appointment of a guardian ad litem, preference shall be given, so far as practicable, to
 members of the judge's immediate family. The guardian or guardian ad litem may claim and
 exercise any right and privilege and make any defense for the judge with the same force and
 effect as if claimed, exercised, or made by the judge, if competent.
 (h)   REPORT OF SPECIAL MASTER
     (1) After the conclusion of the hearing before a special master, he shall promptly prepare
 and transmit to the Commission a report which shall contain a brief statement of the
 proceedings had and his findings of fact based on a preponderance of the evidence with
 respect to the issues presented by the notice of formal proceedings and the answer thereto, or if
 there be no answer, his findings of fact with respect to the allegations in the notice of formal
 proceedings. The report shall be accompanied by an original and two copies of a transcript of
 the proceedings before the special master.
    (2) Upon receiving the report of the special master, the Commission shall promptly send a
 copy to the judge, and one copy of the transcript shall be retained for the judge's use.
 (i)   OBJECTIONS TO REPORT OF SPECIAL MASTER
      Within 15 days after mailing of the copy of the special master's report to the judge, the
 examiner or the judge may file with the Commission an original and twelve legible copies of a
 statement of objections to the report of the special master, setting forth all objections to the
 report and all reasons in opposition to the findings as sufficient grounds for removal or
 retirement. A copy of any such statement filed by the examiner shall be sent to the judge.
 (j) APPEARANCE BEFORE COMMISSION
    If no statement of objections to the report of the special master is filed within the time
 provided, the findings of the special master may be deemed as agreed to, and the Commission
 may adopt them without a hearing. If a statement of objections is filed, or if the Commission

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 in the absence of such statement proposes to modify or reject the findings of the special
 master, the Commission shall give the judge and the examiner an opportunity to be heard
 orally before the Commission, and written notice of the time and place of such hearing shall
 be sent to the judge at least ten days prior thereto.

 (k)   EXTENSION OF TIME
     The Chairperson of the Commission may extend for periods not to exceed 30 days in the
 aggregate the time for filing an answer, for the commencement of a hearing before the
 Commission, and for filing a statement of objections to the report of a special master, and a
 special master may similarly extend the time for the commencement of a hearing before him.
 (l)   HEARING ADDITIONAL EVIDENCE
     (1) The Commission may order a hearing for the taking of additional evidence at any time
 while the matter is pending before it. The order shall set the time and place of hearing and
 shall indicate the matters on which the evidence is to be taken. A copy of such order shall be
 sent to the judge at least ten days prior to the date of the hearing.
     (2)     The hearing of additional evidence may be before the Commission itself or before
 the special master, as the Commission shall direct; and if before a special master, the
 proceedings shall be in conformance with the provisions of Rule 10(d) to 10(g) inclusive.
 (m) COMMISSION RECOMMENDATION
     If, after hearing, upon considering the record and report of the special master, the
 Commission finds good cause therefore, it shall recommend to the Review Tribunal the
 removal, or retirement, as the case may be; or in the alternative, the Commission may dismiss
 the case or publicly order a censure, reprimand, warning, or admonition.

 RULE 11. REQUEST BY COMMISSION FOR APPOINTMENT OF REVIEW
 TRIBUNAL
      Upon making a determination to recommend the removal or retirement of a judge, the
 Commission shall promptly file a copy of a request for appointment of a Review Tribunal
 with the clerk of the Supreme Court, and shall immediately send the judge notice of such
 filing.

 RULE 12. REVIEW OF FORMAL PROCEEDINGS
     (a) A recommendation of the Commission for the removal or retirement, of a judge shall
 be determined by a Review Tribunal of seven Justices selected from the Courts of Appeals.
 Members of the Review Tribunal shall be selected by lot by the Chief Justice of the Supreme
 Court from all Appeals Justices sitting at the time of selection. Each Court of Appeals shall
 designate one of its members for inclusion in the list from which the selection is made, except
 that no Justice who is a member of the Commission shall serve on the Review Tribunal. The
 Justice whose name is drawn first shall be chairperson of the Review Tribunal. The clerk of
 the Supreme Court will serve as the Review Tribunal's staff, and will notify the Commission
 when selection of the Review Tribunal is complete.
     (b) After receipt of notice that the Review Tribunal has been constituted, the Commission
 shall promptly file a copy of its recommendation certified by the Chairperson or Secretary of
 the Commission, together with the transcript and the findings and conclusions, with the clerk

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 of the Supreme Court. The Commission shall immediately send the judge notice of such
 filing and a copy of the recommendation, findings and conclusions.
      (c) A petition to reject the recommendation of the Commission for removal or retirement
 of a judge or justice may be filed with the clerk of the Supreme Court within thirty days after
 the filing with the clerk of the Supreme Court of a certified copy of the Commission's
 recommendation. The petition shall be verified, shall be based on the record, shall specify the
 grounds relied on and shall be accompanied by seven copies of petitioner's brief and proof of
 service of one copy of the petition and of the brief on the Chairperson of the Commission.
 Within twenty days after the filing of the petition and supporting brief, the Commission shall
 file seven copies of the Commission's brief, and shall serve a copy thereof on the judge.
     (d) Failure to file a petition within the time provided may be deemed a consent to a
 determination on the merits based upon the record filed by the Commission.
    (e) Rules 4 and 74, Texas Rules of Appellate Procedure, shall govern the form and
 contents of briefs except where express provision is made to the contrary or where the
 application of a particular rule would be clearly impracticable, inappropriate, or inconsistent.
     (f) The Review Tribunal, may, in its discretion and for good cause shown, permit the
 introduction of additional evidence, and may direct that the same be introduced before the
 special master or the Commission and be filed as a part of the record in the Court.
     (g) Oral argument on a petition of a judge to reject a recommendation of the Commission
 shall, upon receipt of the petition, be set on a date not less than thirty days nor more than forty
 days from the date of receipt thereof. The order and length of time of argument shall, if not
 otherwise ordered or permitted by the Review Tribunal, be governed by Rule 172, Texas
 Rules of Appellate Procedure.
      (h) Within 90 days after the date on which the record is filed with the Review Tribunal, it
 shall order public censure, retirement, or removal, as it finds just and proper, or wholly reject
 the recommendation. The Review Tribunal, in an order for involuntary retirement for
 disability or an order for removal, may also prohibit such person from holding judicial office
 in the future.
     (i) The opinion by the Review Tribunal shall be published if, in the judgment of a
 majority of the justices participating in the decision, it is one that (1) establishes a new rule of
 ethics or law, alters or modifies an existing rule, or applies an existing rule to a novel fact
 situation likely to recur in future cases; (2) involves a legal or ethical issue of continuing
 public interest; (3) criticizes existing legal or ethical principles; or (4) resolves an apparent
 conflict of authority. A concurring or dissenting opinion may be published if, in the judgment
 of its author, it meets one of the above indicated criteria, but in such event the majority
 opinion shall be published as well.

RULE 13. APPEAL TO SUPREME COURT
   A judge may appeal a decision of the Review Tribunal to the Supreme Court under the
substantial evidence rule.

 RULE 14. MOTION FOR REHEARING
     A motion for rehearing may not be filed as a matter of right. In entering its judgment the
 Supreme Court or Review Tribunal may direct that no motion for rehearing will be
 entertained, in which event the judgment will be final on the day and date of its entry. If the
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 Supreme Court or Review Tribunal does not so direct and the judge wishes to file a motion for
 rehearing, he shall present the motion together with a motion for leave to file the same to the
 clerk of the Supreme Court or Review Tribunal within fifteen days of the date of the
 judgment, and the clerk of the Supreme Court shall transmit it to the Supreme Court or Review
 Tribunal for such action as the appropriate body deems proper.

 RULE 15. SUSPENSION OF A JUDGE
     (a) Any judge may be suspended from office with or without pay by the Commission
 immediately upon being indicted by a state or federal grand jury for a felony offense or
 charged with a misdemeanor involving official misconduct. However, the suspended judge
 has the right to a post-suspension hearing to demonstrate that continued service would not
 jeopardize the interests of parties involved in court proceedings over which the judge would
 preside nor impair public confidence in the judiciary. A written request for a post-suspension
 hearing must be filed with the Commission within 30 days from receipt of the Order of
 Suspension. Within 30 days from the receipt of a request, a hearing will be scheduled before
 one or more members or the executive director of the Commission as designated by the
 Chairperson of the Commission. The person or persons designated will report findings
 and make recommendations, and within 60 days from the close of the hearing, the
 Commission shall notify the judge whether the suspension will be continued, terminated, or
 modified.

      (b) Upon the filing with the Commission of a sworn complaint charging a person holding
 such office with willful or persistent violation of rules promulgated by the Supreme Court of
 Texas, incompetence in performing the duties of office, willful violation of the Code of
 Judicial Conduct, or willful and persistent conduct that is clearly inconsistent with the proper
 performance of his duties or casts public discredit upon the judiciary or the administration of
 justice, the Commission, after giving the person notice and an opportunity to appear and be
 heard before the Commission (under Rule 6), may recommend to the Supreme Court the
 suspension of such person from office.

      (c) When the Commission or the Supreme Court orders the suspension of a judge or
 justice, with or without pay, the appropriate city, county, and/or state officials shall be notified
 of such suspension by certified copy of such order.

 RULE 16. RECORD OF COMMISSION PROCEEDINGS
     The Commission shall keep a record of all informal appearances and formal proceedings
 concerning a judge. In all proceedings resulting in a recommendation to the Review Tribunal
 for removal or retirement, the Commission shall prepare a transcript of the evidence and of all
 proceedings therein and shall make written findings of fact and conclusions of law with
 respect to the issues of fact and law in the proceeding.

 RULE 17. CONFIDENTIALITY AND PRIVILEGE OF PROCEEDINGS
     All papers filed with and proceedings before the Commission shall be confidential, and
 the filing of papers with, and the giving of testimony before the Commission shall be
 privileged; provided that:
     (a)     The formal hearing, and all papers, records, documents, and other evidence
             introduced during the formal hearing shall be public.

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    (b) If the Commission issues a public sanction, all papers, documents, evidence, and
    records considered by the Commission or forwarded to the Commission by its staff and
    related to the sanction shall be public.
    (c) The judge may elect to open the informal appearance hearing pursuant to Rule 6(b).

    (d) Any hearings of the Special Court of Review shall be public and held at the location
    determined by the Special Court of Review. Any evidence introduced during a hearing,
    including papers, records, documents, and pleadings filed in the proceedings, is public.

 RULE 18. EX PARTE CONTACTS BY MEMBERS OF THE COMMISSION
 A Commissioner, except as authorized by law, shall not directly or indirectly initiate,
 permit, nor consider ex parte contacts with any judge who is the subject of an
 investigation being conducted by the Commission or involved in a proceeding before the
 Commission




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                                                                    Juries are not permitted to base verdicts on
                       575 S.W.3d 1                                 speculation.
           Court of Appeals of Texas, Texarkana.

         Ashley Eva MORRISON, Appellant
                       v.
           The STATE of Texas, Appellee
                                                              [2]   Criminal Law      Interference in attorney-client
                     No. 06-17-00159-CR                             relationship
                              |
                Date Submitted: June 20, 2018                       A purposeful intrusion into the relationship
                              |                                     between a criminal defendant and her counsel
                Date Decided: March 27, 2019                        produces, directly or indirectly, any of the
                                                                    evidence offered at trial, and thus violates the
                                                                    defendant’s Sixth Amendment right to counsel,
Synopsis                                                            when (1) the State’s evidence originated in the
                                                                    intrusion, (2) the intrusion is used in any other
Background: Defendant was convicted in the District
Court, Lamar County, No. 26166, Bailey C. Moseley, J.               way to the substantial detriment of the
(Retired), of murder under the law of parties, following            defendant, or (3) the State learns details about
State’s use of information from defense counsel’s detailed          the defendant’s trial preparation. U.S. Const.
billing records to inculpate defendant at trial. Defendant          Amend. 6.
appealed.



Holdings: The Court of Appeals, Burgess, J., held that:
                                                              [3]   Criminal Law      Interference in attorney-client
[1]
    State’s review of billing records was purposeful
                                                                    relationship
intrusion into attorney-client relationship that violated
defendant’s right to counsel;
                                                                    A purposeful intrusion into the relationship
[2]
    State’s use of information from billing records                 between a criminal defendant and her attorney
prejudiced defendant at trial;                                      that violates the defendant’s right to counsel can
                                                                    occur even where the State does not create the
[3]
   State’s violation of defendant’s right to counsel was            circumstances that made the information
fundamental error;                                                  available if the State exploits an opportunity to
                                                                    obtain information otherwise protected from
[4]
    defense counsel’s performance was deficient and                 disclosure. U.S. Const. Amend. 6.
prejudicial; and
[5]
      remedy was new trial and suppression.


Reversed and remanded, with instructions.
                                                              [4]   Criminal Law      Interference in attorney-client
                                                                    relationship

                                                                    State’s review of appointed defense counsel’s
  West Headnotes (52)                                               itemized billing records, which defense counsel
                                                                    had submitted to clerk of court to receive
                                                                    payment for services in murder case, was a
                                                                    purposeful intrusion into attorney-client
 [1]       Criminal Law     Degree of proof
                                                                    relationship and violated defendant’s Sixth

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       Amendment right to counsel, where no
       legitimate law enforcement reason justified
       prosecutor’s review of billing statements,          [8]    Criminal Law      Assisting and compensating
       allowing the State to review appointed                     counsel
       attorneys’ billing statements would only impose
       risk of disclosure of non-discoverable                     The right of appointed defense counsel to
       information upon indigent defendants, and                  payment for representation of a criminal
       unredacted billing records were highly detailed            defendant is balanced against the risk that
       and disclosed confidential attorney work product           county governments could be forced to pay
       and attorney-client communications. U.S. Const.            excessive fees. Tex. Crim. Proc. Code Ann. art.
       Amend. 6; Tex. Crim. Proc. Code Ann. art.                  26.05(a).
       26.05.




                                                           [9]    Attorneys and Legal Services Criminal
[5]    Criminal Law     Work product                              Justice
                                                                  Criminal Law Assisting and compensating
       Billing records of defense counsel in murder               counsel
       case constituted privileged attorney work
       product, where records contained comments by               To receive payment for services provided to an
       attorney concerning his strategy and opinions of           indigent criminal defendant, which the State is
       the strength and weaknesses of the case,                   constitutionally and statutorily required to
       including attorney’s change in strategy,                   provide, appointed counsel must submit
       following defendant’s failure of polygraph, from           itemized billing statements to the trial court for
       argument defendant was uninvolved in killing to            approval pursuant to the schedule of fees
       argument defendant was under control of                    adopted for the county; itemization is necessary
       abusive boyfriend.                                         for the trial court to determine if the work
                                                                  provided was reasonable, necessary, and
                                                                  consistent with the fee schedule adopted by the
                                                                  judges trying criminal cases in the county. U.S.
                                                                  Const. Amend. 6; Tex. Crim. Proc. Code Ann.
                                                                  art. 26.05(a).

[6]    Pretrial Procedure    Business and financial
       records and reports                                        1 Cases that cite this headnote

       Attorney billing records constitute attorney work
       product.

                                                           [10]   Criminal Law      Prosecution’s right to
                                                                  disclosure

                                                                  Generally, the State has no right of discovery
                                                                  against the defendant in a criminal case.
[7]    Criminal Law     Indigence

       The right of an indigent criminal defendant to
       the appointment of counsel is constitutionally
       mandated. U.S. Const. Amend. 6.

                                                           [11]   Criminal Law      Reports, memoranda or notes


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       As an exception to the general rule that the State
       has no right of discovery against a defendant in
       a criminal case, the defendant may be required
       to disclose a witness’s notes if the witness
       makes testimonial use of the material at trial.
                                                            [14]   Criminal Law Effect of Representation or
                                                                   Deprivation of Rights

                                                                   It is not enough that a defendant proves a
                                                                   purposeful intrusion by the State into her
                                                                   attorney-client relationship; she must also prove
[12]   Criminal Law      Deprivation or Allowance of               that she was prejudiced by that intrusion. U.S.
       Counsel                                                     Const. Amend. 6.

       The Sixth Amendment imposes on the State an
       affirmative obligation to respect and preserve
       the accused’s choice to seek assistance, which
       means, at the very least, the prosecutor has an
       affirmative obligation not to act in a manner that
       circumvents and thereby dilutes the protection       [15]   Criminal Law Effect of Representation or
       afforded by the right to counsel. U.S. Const.               Deprivation of Rights
       Amend. 6.
                                                                   A defendant is prejudiced by the State’s
                                                                   intrusion into the attorney-client relationship if
                                                                   the State’s intrusion into her attorney-client
                                                                   relationship produced, directly or indirectly, any
                                                                   of the evidence at trial. U.S. Const. Amend. 6.

[13]   Criminal Law      Interference in attorney-client
       relationship
       Criminal Law      Assisting and compensating
       counsel

       The State’s affirmative obligation not to act in a   [16]   Criminal Law      Counsel for Accused
       manner that circumvents and thereby dilutes the
       protection afforded by the right to counsel                 State’s intrusion into attorney-client relationship
       necessarily imposes a duty on a prosecuting                 by reviewing defense counsel’s detailed billing
       attorney to refrain from reviewing an indigent              records prejudiced defendant at murder trial;
       defendant’s attorney’s billing records during the           billing records’ reference to letter defendant had
       pendency of the case against that defendant, no             written her mother allowed State to suggest to
       matter how they are acquired and regardless of              jury that letter included defendant’s confession
       whether any privilege attendant to those records            to involvement in the murder, which countered
       was waived by public disclosure, in light of the            defense theory defendant was a mere bystander,
       constitutional basis for indigent defense, the              there was no other evidence that a letter
       administrative nature of billing record                     containing such an admission existed, and State
       submissions, the work product status of those               admitted its source for the information about the
       records, the strategic advantage such records               letter was the billing records. U.S. Const.
       would potentially give the state, the privileged            Amend. 6.
       nature of those records, the fact that billing
       records are only submitted in indigent defense
       cases, and the State’s unique responsibility as a
       fiduciary to fundamental principles of fairness.
       U.S. Const. Amend. 6; Tex. Crim. Proc. Code
       Ann. arts. 2.01, 26.05.
                                                            [17]   Criminal Law      Counsel for Accused

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                                                                     increased the punishment.
       If a defendant meets her burden of proof and
       establishes a purposeful intrusion into her
       attorney-client relationship and that she was
       prejudiced by that intrusion, then the State, as
       the beneficiary of the constitutional error, must
       prove beyond a reasonable doubt that the error
       complained of did not contribute to the verdict        [21]   Criminal Law      Evidence in general
       obtained. U.S. Const. Amend. 6.
                                                                     In determining whether an evidentiary error at
                                                                     trial materially affected a jury’s verdict, the
                                                                     ultimate inquiry is whether, assuming that the
                                                                     damaging potential of the inadmissible evidence
                                                                     were fully realized, a reviewing court might
                                                                     nonetheless say that the error was harmless
[18]   Criminal Law      Counsel for Accused                         beyond a reasonable doubt.

       In reviewing the State’s assertion that a
       purposeful intrusion into a defendant’s
       attorney-client relationship did not contribute to
       the verdict obtained, a court must calculate, as
       nearly as possible, the probable impact of the
       error on the jury in light of the other evidence; if   [22]   Criminal Law      Evidence in general
       there is a reasonable likelihood that the error
       materially affected the jury’s deliberations, then            Even though error is harmless if the jury’s
       the error is not harmless beyond a reasonable                 verdict would have been the same even if the
       doubt. U.S. Const. Amend. 6.                                  erroneous evidence had not been admitted, if
                                                                     error has even a slight effect, it is not, beyond a
                                                                     reasonable doubt, harmless.




[19]   Criminal Law Prejudice to rights of party as
       ground of review
                                                              [23]   Criminal Law      Counsel for Accused
       There is no set formula for conducting a harm
       analysis that necessarily applies across the board            State’s intrusion into attorney-client relationship
       to every case and every type of constitutional                by reviewing defense attorney’s billing records,
       error.                                                        which included note that defendant charged with
                                                                     murder as an accomplice had written “long and
                                                                     sad” letter to her mother, had at least a slight
                                                                     effect on the jury’s verdict and was therefore not
                                                                     harmless error; State’s suggestion that the letter
                                                                     contained confession to involvement in the
                                                                     murder, which went directly to the key dispute
[20]   Criminal Law      Prejudice to Defendant in                   of whether defendant was a bystander or a
       General                                                       participant, invited jury to speculate that there
                                                                     was inculpatory evidence not contained in the
       The factors a court considers in determining                  record, suggestion that defendant had admitted
       whether an error at trial materially affected the             her involvement to her mother cast other
       jury’s deliberations are not exclusive                        evidence in a negative light and implied
       considerations in any particular case, and the                defendant was lying, and State’s suggestion in
       inquiry should be whether, or to what extent, the             front of the jury that defense counsel had
       error may have contributed to the conviction or               retrieved the letter and should produce it

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       suggested defense counsel knew letter was
       inculpatory and was hiding it from jury. U.S.               An essential ingredient of a fair and impartial
       Const. Amend. 6.                                            adversarial proceeding, including a hearing on
                                                                   punishment, is that the ultimate conclusion of
                                                                   the fact-finder be a determination of issues
                                                                   tendered by pleadings giving adequate notice,
                                                                   raised by evidence properly admitted, upon an
                                                                   opportunity for defendant to confront adverse
                                                                   witnesses and be heard by an impartial
[24]   Criminal Law      Presentation of questions in              fact-finder under fair procedures provided by
       general                                                     law, including some showing of the basis of that
                                                                   conclusion.
       Rights of a criminal defendant which are
       waivable only, as well as absolute systemic
       requirements and prohibitions, cannot be made
       subject to rules of procedural default because,
       by definition, they are not forfeitable.

                                                            [28]   Criminal Law     Right of Defendant to Counsel

                                                                   The fundamental justification for the Sixth
                                                                   Amendment right to counsel is the presumed
                                                                   inability of a defendant to make informed
[25]   Criminal Law      Necessity of Objections in                choices about the preparation and conduct of his
       General                                                     defense. U.S. Const. Amend. 6.

       “Fundamental errors” are trial errors which
       implicate non-forfeitable rights; since such
       rights are non-forfeitable, they cannot be
       forfeited on appeal by failing to lodge a trial
       objection to their violation at trial.
                                                            [29]   Criminal Law     Consultation with counsel;
                                                                   privacy
       1 Cases that cite this headnote
                                                                   Free two-way communication between client
                                                                   and attorney is essential if the professional
                                                                   assistance guaranteed by the Sixth Amendment
                                                                   is to be meaningful. U.S. Const. Amend. 6.
[26]   Criminal Law      Necessity of Objections in
       General

       While there is no settled definition of
       fundamental error, many of the errors which
       have been declared to be fundamental threaten a
       right which is essential to the proper functioning   [30]   Privileged Communications and
       of a fair and impartial trial.                              Confidentiality Purpose of privilege

                                                                   The purpose of the attorney-client privilege is
       1 Cases that cite this headnote                             inextricably linked to the very integrity and
                                                                   accuracy of the fact-finding process itself.



[27]   Criminal Law Fair and impartial trial in
       general
       Sentencing and Punishment Hearing
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[31]   Criminal Law      Consultation with counsel;                counsel’s errors were so serious that they
       privacy                                                     deprived the defendant of a fair trial, a trial
                                                                   whose result is reliable. U.S. Const. Amend. 6.
       In order for the adversary system to function
       properly, any advice received as a result of a
       defendant’s disclosure to counsel must be
       insulated from the government.


                                                            [35]   Criminal Law       Determination

                                                                   Claims of ineffective assistance of counsel must
                                                                   be firmly rooted in the record, with the record
[32]   Criminal Law      Counsel for accused                       itself affirmatively demonstrating the alleged
                                                                   ineffectiveness. U.S. Const. Amend. 6.
       State’s violation of defendant’s Sixth
       Amendment right to counsel by possessing
       defense counsel’s itemized billing records and
       using those records against her at trial was
       fundamental error, and therefore defendant did
       not forfeit review by failing to object at trial;
       State’s purposeful intrusion into defendant’s        [36]   Criminal Law       Determination
       attorney-client relationship threatened the proper
       functioning of the adversarial system and                   Failure to satisfy either prong of the Strickland
       undermined the adjudicatory process. U.S.                   test is fatal to a claim of ineffective assistance of
       Const. Amend. 6.                                            counsel. U.S. Const. Amend. 6.




[33]   Criminal Law      Deficient representation in        [37]   Criminal Law Presumptions and burden of
       general                                                     proof in general

       To establish ineffective assistance of counsel, a           In reviewing a claim of ineffective assistance of
       defendant must first show that counsel’s                    counsel, a court indulges a strong presumption
       performance was deficient; this requires a                  that counsel’s conduct falls within the wide
       showing that counsel made errors so serious that            range of reasonable, professional assistance and
       counsel was not functioning as the counsel                  that it was motivated by sound trial strategy.
       guaranteed defendants by the Sixth Amendment.               U.S. Const. Amend. 6.
       U.S. Const. Amend. 6.




                                                            [38]   Criminal Law       Effective assistance
[34]   Criminal Law      Prejudice in general
                                                                   If counsel’s reasons for his conduct do not
       In order to establish ineffective assistance of             appear in the record and there is at least the
       counsel, once a defendant has shown counsel’s               possibility that the conduct could have been
       performance was deficient, it must be further               legitimate trial strategy, a reviewing court will
       shown that the deficient performance prejudiced             defer to counsel’s decisions and deny relief on
       the defense; this requires a showing that                   an ineffective assistance claim on direct appeal.

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       U.S. Const. Amend. 6.

                                                          [43]   Criminal Law      Examination of witnesses

                                                                 Appointed defense counsel’s filing of
                                                                 overly-detailed itemized billing records with
                                                                 clerk of court during murder prosecution was
[39]   Criminal Law     Conduct of Trial in General              deficient, for purposes of establishing
                                                                 ineffective assistance of counsel; records were
       Only in the rare case in which trial counsel’s            attorney work product containing so much detail
       ineffectiveness is apparent from the record may           that no aspect of counsel’s defense strategy or
       the appellate court address and dispose of a              activity was protected from a reader, records
       claim of ineffective assistance of counsel on             contained confidential communications with
       direct appeal. U.S. Const. Amend. 6.                      client, there was no indication client waived
                                                                 attorney-client privilege, counsel did not request
                                                                 that clerk file records under seal prior to and
                                                                 pending trial, counsel failed to attempt remedial
                                                                 measures at any point after learning the State
                                                                 had access to them, such as moving to exclude
                                                                 the records and any information obtained from
[40]   Criminal Law Presumptions and burden of
                                                                 them, objecting to State’s use of information
       proof in general
                                                                 from records, asking the trial court to instruct
                                                                 the State to return all copies of billing records,
       In the context of a claim of ineffective
                                                                 or moving for mistrial, and no discernable
       assistance of counsel, defense counsel is
                                                                 strategic reason existed for the level of detail
       presumed to know the applicable law. U.S.
                                                                 disclosed in the billing records or the failures to
       Const. Amend. 6.
                                                                 remedy the disclosure. U.S. Const. Amend. 6.




[41]   Criminal Law     Multiple particular grounds
                                                          [44]   Privileged Communications and
                                                                 Confidentiality Waiver of privilege
       Though individually, instances of substandard
       representation may not establish ineffective
                                                                 Only defendant, not appointed counsel, had the
       assistance of counsel, multiple failures can
                                                                 right to waive attorney-client privilege over
       compel such a finding. U.S. Const. Amend. 6.
                                                                 confidential communications contained in
                                                                 itemized billing statements which counsel filed
                                                                 with clerk of court.



[42]   Criminal Law Standard of Effective
       Assistance in General
                                                          [45]   Privileged Communications and
       The        ultimate       focus      of    an
                                                                 Confidentiality Death of client or attorney
       ineffective-assistance-of-counsel inquiry must
                                                                 Privileged Communications and
       be on the fundamental fairness of the
                                                                 Confidentiality Persons entitled to assert
       proceeding. U.S. Const. Amend. 6.
                                                                 privilege

                                                                 The attorney-client privilege survives the
                                                                 client’s death and may even be asserted by the

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       client’s personal representative. Tex. R. Evid.              denying the prosecution of the fruits of its
       503(c)(3).                                                   transgression. U.S. Const. Amend. 6.




[46]   Criminal Law      Deficient representation in         [49]   Criminal Law     Remedies
       general
                                                                    Suppressing       evidence     and    limiting
       Under the Strickland standard, breach of an                  cross-examination is the preferred method for
       ethical standard does not necessarily make out a             neutralizing the effects of right to counsel
       denial of the Sixth Amendment guarantee of                   violations. U.S. Const. Amend. 6.
       assistance of counsel. U.S. Const. Amend. 6.




                                                             [50]   Criminal Law     Remedies
[47]   Criminal Law      Examination of witnesses
                                                                    If it is impossible to neutralize or rectify the
       Defense counsel’s deficient performance by                   State’s transgressions, such as intrusion into a
       filing detailed billing records containing                   defendant’s      attorney-client    relationship,
       confidential client communications and notes on              dismissal of the indictment may be necessary to
       strategy and investigation, which the State then             adequately protect the defendant’s Sixth
       used against defendant at trial for murder as                Amendment right to counsel. U.S. Const.
       accomplice, prejudiced defendant; information                Amend. 6.
       in records allowed State to create a false
       impression before the jury that defendant had
       written her mother a letter admitting
       involvement in the murder, that defense counsel
       had retrieved the letter, and that defense counsel
       should have produced it at trial but did not, and
       defense counsel failed to take remedial               [51]   Criminal Law     Remedies
       measures, such as seeking admission of
       defendant’s boyfriend’s statements that he was               Proper remedy for State’s intrusion into
       solely responsible for the murder. U.S. Const.               defendant’s attorney-client relationship and
       Amend. 6.                                                    defense counsel’s deficient performance, which
                                                                    resulted in State’s use of information gained
                                                                    from defense counsel’s detailed billing records
                                                                    against defendant in murder trial, was new trial
                                                                    and suppression of State’s use of billing records
                                                                    and any evidence arising from them. U.S. Const.
                                                                    Amend. 6.
[48]   Criminal Law      Remedies

       In determining the appropriate remedy for a
       Strickland violation based on the State’s
       intrusion into a defendant’s attorney-client
       relationship, a reviewing court must determine
       whether it may tailor relief appropriate in the       [52]   Criminal Law     Judicial Notice
       circumstances to assure the defendant the
       effective assistance of counsel and a fair trial by          Appellate court would take judicial notice that

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        judicial vacancy in trial court had been filled.         disclosure.1

                                                                 If the prosecutor nevertheless reviews those records, he
                                                                 purposefully intrudes into the defendant’s attorney-client
                                                                 relationship. If, at trial, (1) any of “the State’s evidence
                                                                 originated in the [intrusion],” (2) the information obtained
                                                                 from the records was “used in any other way to the
                                                                 substantial detriment of [the defendant],” or (3) the State
*7 On Appeal from the 6th District Court, Lamar County,          learned details about the defendant’s trial preparations
Texas, Trial Court No. 26166, William H. Harris, Judge           from the records, then the intrusion prejudiced the
                                                                 defendant. Weatherford v. Bursey, 429 U.S. 545, 552, 97
Attorneys and Law Firms
                                                                 S.Ct. 837, 51 L.Ed.2d 30 (1977). Error of this type is
Michael D. Mosher, Law Office of Michael D. Mosher,              fundamental and may be raised on appeal even in the
The Mosher Justice Center, 50 North Main, Paris, TX              absence of a trial objection.
75460, for Appellant.
                                                                 Second, notwithstanding the first principle, a defense
Gary D. Young, Lamar County & District Attorney, 119             attorney who (1) creates detailed billing records
North Main, Paris, TX 75460, Jeffrey W. Shell, Rockwall          disclosing confidential client communications and
County District Attorney’s Office, 1111 E Yellowjacket           attorney work product, (2) fails to protect strategic
Ln, Ste 201, Rockwall, TX 75087, for Appellee.                   defense information from public disclosure during the
                                                                 payment process, or (3) fails to take remedial actions after
Before Morriss, C.J., Burgess and Moseley,* JJ.                  learning that the prosecuting attorney has reviewed his
                                                                 billing records provides ineffective assistance of counsel.
                                                                 Because the State violated the first principle, and because
                                                                 defense counsel violated the second principle, we find
                                                                 that both Ashley Eva Morrison’s Sixth Amendment right
                                                                 to counsel and her Sixth Amendment right to be free from
                                                                 State intrusion into the attorney-client relationship were
                                                                 violated. Because the State acquired and used useful
                                                                 information from *8 those records, we find that Morrison
OPINION
                                                                 was prejudiced by the State’s intrusion and defense
                                                                 counsel’s deficient performance. However, because we
Opinion by Justice Burgess                                       find that this prejudice can be remedied by granting
                                                                 Morrison a new trial and suppressing the billing records
                                                                 and all evidence derived therefrom on remand, we deny
                                                                 Morrison’s request to dismiss the indictment.
                                                                 Accordingly, we reverse the trial court’s judgment and
                                                                 remand this case to the trial court for a new trial.
I. Introduction
This case involves two principles of law. First, “[t]he
Sixth Amendment ... imposes on the State an affirmative
obligation to respect and preserve the accused’s choice to
seek assistance,” which means, “at the very least, the
prosecutor ... [has] an affirmative obligation not to act in a   II. Facts
manner that circumvents and thereby dilutes the                  It is uncontroverted that sixteen-year-old Christian Sims
protection afforded by the right to counsel.” Maine v.           (Sims) shot and killed his grandmother, Annie Lois Sims
Moulton, 474 U.S. 159, 170–71, 106 S.Ct. 477, 88                 (Annie). Before the shooting, Sims and his girlfriend,
L.Ed.2d 481 (1985). Because billing records exist to             Ashley Morrison (Morrison), ran away from Morrison’s
secure an indigent defendant’s right to the appointment of       home where they had been living together with
counsel, the prosecutor’s “affirmative obligation” requires      Morrison’s family. That same day, they broke into Sims’s
a prosecuting attorney to refrain from reviewing indigent        aunt’s house. While there, Sims retrieved a gun and
defense billing records during the case against the              travelled to Annie’s home, where he murdered her. While
defendant, regardless of how the prosecutor may acquire          Sims was at Annie’s home committing the murder,
that information and regardless of whether any privilege         Morrison was at Sims’ aunt’s house. The State’s theory at
attendant to those records was waived by public                  trial was that Morrison was guilty of murder under the
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law of parties because (1) Morrison knew, in advance,          documents. See Cobra Oil & Gas Corp. v. Sadler, 447
that Sims intended to rob and either assault or kill Annie     S.W.2d 887, 896 (Tex. 1968); Morales v. State, 11
and (2) she assisted Sims in carrying out that plan.           S.W.3d 460, 465 (Tex. App.—El Paso 2000, pet. ref’d).
Accordingly, the key fact question at trial was whether        In view of the statutory and constitutional implications of
Morrison was involved in Annie’s murder.                       indigent defense representation, and the lack of
                                                               justification for the State to obtain and review indigent
The trial court found that Morrison was indigent and           defense counsel’s billing records, we find that the State’s
appointed counsel to represent her at trial; additionally,     review of defense counsel’s billing records in this case
the trial court approved funding for an investigator to        constituted a purposeful intrusion into Morrison’s
assist in Morrison’s defense. Before trial, defense counsel    attorney-client relationship.
requested interim payment for his services and the
services of the defense investigator. To support the
payment request, defense counsel submitted his and the
investigator’s billing records to the trial court.2 Defense
counsel’s billing records were highly detailed and
disclosed confidential attorney work product and                  B. Applicable Law
attorney-client communications.3 *9 At some point, the              The United States Supreme Court has held that the
                                                               [2] [3]

unredacted billing records were filed with the district        State violates a defendant’s Sixth Amendment right to
clerk.                                                         counsel if it purposefully intrudes into that relationship
                                                               and the intrusion “produce[s], directly or indirectly, any
  The evidence against Morrison was circumstantial.4
[1]                                                            of the evidence offered at trial.” Weatherford, 429 U.S. at
Before trial, the State obtained *10 copies of defense         552, 97 S.Ct. 837. An intrusion “produce[s], directly or
counsel’s billing records and reviewed them. Based on          indirectly, any of the evidence offered at trial” when (1)
entries from those records, the State pursued a line of        “the State’s evidence originated in the [intrusion],” (2) the
questioning of Morrison’s mother, Misty, suggesting that       intrusion is “used in any other way to the substantial
Morrison admitted her involvement in the murder in a           detriment of [the defendant],” or (3) the State learns
letter she wrote to Misty from jail. The State also            details about the defendant’s trial preparation. Id. at 554,
suggested that defense counsel had retrieved the letter        97 S.Ct. 837; see also Murphy v. State, 112 S.W.3d 592,
from Misty prior to trial and was refusing to produce it.5     602 (Tex. Crim. App. 2003) (holding that “the State’s
Yet, there was no proof that any letter containing an          intrusion into the attorney-client relationship violates a
admission by Morrison ever existed.6 The jury found            defendant’s constitutional right to counsel when the
Morrison guilty of *11 murder under the law of parties         defendant is prejudiced by the violation”). The United
and sentenced her to thirty years’ imprisonment.               States Supreme Court also has held that, “at the very least,
                                                               the prosecutor ... [has] an affirmative obligation not to act
                                                               in a manner that circumvents and thereby dilutes the
                                                               protection afforded by the right to counsel.” Moulton, 474
                                                               U.S. at 170–71, 106 S.Ct. 477. Finally, a purposeful
                                                               intrusion can occur even where the State does not create
III. First Point of Error—Whether the State Violated           the circumstances that made the information *12 available
Morrison’s Sixth Amendment Right to Counsel                    if the State exploits an opportunity to obtain information
                                                               otherwise protected from disclosure. See id. at 176, 106
                                                               S.Ct. 477 (holding that a “knowing exploitation by the
                                                               State of an opportunity to confront the accused without
   A. Introduction                                             counsel being present is as much a breach of the State’s
In her first point of error, Morrison argues that the State    obligation not to circumvent the right to the assistance of
violated her Sixth Amendment rights when it obtained,          counsel as is the intentional creation of such an
reviewed, and then used information from her attorney’s        opportunity”); see also Shillinger v. Haworth, 70 F.3d
billing records against her.7 The State responds that it did   1132, 1141 (10th Cir. 1995) (holding that prosecutor
not purposefully intrude into Morrison’s attorney-client       purposefully intruded into the attorney-client relationship
relationship because the billing records were filed as         when he obtained information regarding defense
public records, and therefore, it was entitled to review       counsel’s practice sessions with defendant prior to trial
those records. In support of this argument, the State only     from jailer assigned to guard defendant during the
cites general cases holding that the duties of clerks are      sessions).
ministerial in nature and that the purpose for those duties
is to ensure that all persons have access to public

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                                                                 2. Appointed Defense Attorneys for Indigent
                                                                 Defendants Are Required by Statute to Present
                                                                 Itemized Requests for Payment to the Trial Court
   C. Analysis                                                   When Requesting Payment
  To determine whether the State intruded into Morrison’s
[4]

attorney-client relationship by reviewing defense                  An indigent criminal defendant has a statutory right to
                                                                 [7]

counsel’s billing records, we first consider the law             the appointment of counsel at the county’s expense. See
governing the appointment and compensation of defense            Tex. Code Crim. Proc. Ann. art. 1.051(c) (West Supp.
counsel for indigent defendants.                                 2018). The right of an indigent criminal defendant to the
                                                                 appointment of counsel is also constitutionally mandated.
                                                                 See Gideon v. Wainwright, 372 U.S. 335, 343, 83 S.Ct.
                                                                 792, 9 L.Ed.2d 799 (1963) (quoting Grosjean v. Am.
                                                                 Press Co., 297 U.S. 233, 243–44, 56 S.Ct. 444, 80 L.Ed.
                                                                 660 (1936) (holding that “certain fundamental rights, *13
                                                                 safeguarded by the first eight amendments against federal
1. Attorney Billing Records Are Attorney Work
                                                                 action, [are] also safeguarded against state action by the
Product
                                                                 due process clause of the Fourteenth Amendment, and
      Attorney billing records constitute attorney work
[5] [6]                                                          among them the fundamental right of the accused to the
product. See In re Nat’l Lloyds Ins. Co., 532 S.W.3d 794,        aid of counsel in a criminal proceeding”) ).
803 (Tex. 2017) (holding that “a request to produce all
billing records invades a party’s work-product privilege               Article 26.05(a) of the Texas Code of Criminal
                                                                 [8] [9]

because, cumulatively, billing records constitute a              Procedure mandates the payment of a “reasonable
mechanical compilation of information that, at least             attorney’s fee” to “counsel ... appointed to represent a
incidentally, reveals an attorney’s strategy and thought         defendant in a criminal proceeding.” Tex. Code Crim.
processes”). Thus, “[d]iscovery of billing records in their      Proc. Ann. art. 26.05(a) (West Supp. 2018). However, the
entirety would provide a roadmap of how the [party]              right to payment is balanced against the risk that county
plans to litigate not only this particular case, but all other   governments could be forced to pay excessive fees. In re
... cases.” Id. The Court of Criminal Appeals has held that      Collin Cty., 528 S.W.3d 807, 812 (Tex. App.—Dallas
the attorney work-product privilege also applies in              2017, orig. proceeding) (“By requiring the judges to set
criminal cases, noting, “The work product privilege has          both minimum and maximum hourly rates, it is clear that
generally been limited to documents which themselves do          the legislature was concerned not only with attorneys
not contain admissible evidence of the offense but instead       receiving a fair rate of payment, but also with counties not
are summaries of the evidence or discussions about the           being forced to pay excessive fees.”). Accordingly,
offense that have been prepared for the internal use of”         Article 26.05 states, “No payment shall be made under
attorneys and investigators. Washington v. State, 856            this article until the form for itemizing the services
S.W.2d 184, 189–90 (Tex. Crim. App. 1993) (quoting               performed is submitted to the trial judge presiding over
Quinones v. State, 592 S.W.2d 933, 940 (Tex. Crim. App.          the proceedings ... and until the judge ... approves
1980) ), cert. denied, 449 U.S. 893, 101 S.Ct. 256, 66           payment.” Tex. Code Crim. Proc. Ann. art. 26.05(c)
L.Ed.2d 121 (1980). The Court of Criminal Appeals has            (West Supp. 2018). Therefore, to receive payment for
also held that “[a] document that contains ‘comments by          services     provided      to   an     indigent    criminal
the attorney containing his strategy or opinions of the          defendant—which the State is constitutionally and
strengths and weaknesses of the case’ is highly privileged       statutorily required to provide—appointed counsel must
work product[, and a] document of this nature is precisely       submit itemized billing statements to the trial court for
the type of document intended to be protected by the work        approval pursuant to the schedule of fees adopted for the
product doctrine.” Skinner v. State, 956 S.W.2d 532,             county. Itemization is necessary for the trial court to
538–39 (Tex. Crim. App. 1997). Defense counsel’s                 determine if the work provided was reasonable,
billing records clearly contain “comments by the attorney        necessary, and consistent with the fee schedule adopted
concerning his strategy [and] opinions of the strength and       by the judges trying criminal cases in the county.
weaknesses of the case....” Id. Accordingly, defense
counsel’s billing records constituted attorney work
product.


                                                                 3. Possession of a Defense Attorney’s Billing Records

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Prior to Trial Gives the State a Strategic Advantage           law is concerned, ‘stand on an equality before the bar of
Over Indigent Defendants                                       justice in every American court.’ ”) (quoting Chambers v.
                                                               Florida, 309 U.S. 227, 241, 60 S.Ct. 472, 84 L.Ed. 716
        Generally, the State has no right of discovery
[10] [11]
                                                               (1940) ).12
against the Defendant in a criminal case.8 See
Washington, 856 S.W.2d at 187 (noting that “discovery in
Texas criminal cases has been a ‘one-way proposition,’
with the focus on requests by defendants for discovery
and the State resisting those requests” and that while
“criminal defendants ... have been granted limited
discovery ... [n]o similar provision grants the right to       4. Prosecutors Have No Involvement in the Approval
discover evidence to the State”) (citing Demouchette v.        of Requests for Payment by Defense Attorneys, and
State, 731 S.W.2d 75, 81 (Tex. Crim. App. 1986) (stating       There is no Legitimate Law Enforcement Reason for
in dicta that the State “has no right of discovery into the    Prosecutors to Have Access to Such Information
defendant’s case”) ); see also Tex. Code Crim. Proc. Ann.
art. 39.14(a) (West Supp. 2018) (“as *14 soon as               The actual payment of defense counsel’s attorney fees is
practicable after receiving a timely request from the          purely an administrative matter. The State’s attorney has
defendant, the State shall produce [information] that          no role in the payment of fee requests or the establishment
constitute[s] or contain[s] evidence material to any matter    of fee schedules. Accordingly, there is no legitimate law
involved in the action and that [is] in the possession,        enforcement reason for a prosecutor to review an indigent
custody, or control of the State....”) (emphasis added).9      defendant’s attorney’s billing statements during the
Making defense counsel’s itemized billing statements           pendency of the case against that defendant. To allow the
available to the State would allow the State to discover       State to do so simply because, in the process of getting
information about the defendant’s case it would not            paid, the defense billing records ended up in the clerk’s
otherwise be entitled to discover under the Code of            record would be tantamount to permitting the prosecutor
Criminal Procedure. In essence, it would give the State a      to read defense counsel’s file because he was required to
potential “roadmap of how the [defendant] plans to             allow his briefcase to be searched by security before
litigate ... this particular case....” Nat’l Lloyds, 532       entering the courtroom.
S.W.3d at 803.

Moreover, only attorneys appointed to represent indigent
defendants are required to submit their itemized bills to
the trial court for payment. Therefore, only indigent
defendants are at risk of disclosing non-discoverable          5. Given Their Special Status, Prosecuting Attorneys
information to the State as part of the compensation           Have a Duty to Refrain from Reviewing the Billing
procedure. To interpret Article 26.05 as rendering             Records of an Indigent Defendant’s Attorney
attorney’s billing statements fair game for the State’s
review and use should those bills somehow find their way          While it is true that public records are available to the
                                                               [12]

into the clerk’s record would place indigent defendants on     public and that the attorney work-product privilege can be
the horns of a dilemma not faced by non-indigent               waived by disclosure, a prosecuting attorney is no
defendants.                                                    ordinary member of the public who might otherwise be
                                                               entitled to review such information. Article 2.01 of the
Under that interpretation, indigent defendants must accept     Texas Code of Criminal Procedure states, “It shall be the
the risk that their attorney’s itemized billing statements     primary duty of all prosecuting attorneys ... not to convict,
possibly containing a roadmap of their defense could be        but to see that justice is done.” Tex. Code Crim. Proc.
filed with the district clerk and used against them at trial   Ann. art. 2.01 (West 2005). The Texas Court of Criminal
when they invoke their constitutional and statutory right      Appeals has held,
to appointed counsel.10 Because a retained attorney never
has to submit bills to the trial court for review and            As a trustee of the State’s interest in providing fair
payment, such an interpretation of Article 26.05 would           trials, the prosecutor is obliged to illuminate the court
unconstitutionally burden only indigent defendants.11 Cf.        with the truth of the cause, so that the judge and jury
Griffin v. Illinois, 351 U.S. 12, 17, 76 S.Ct. 585, 100          may properly render justice. Thus, the prosecutor is
L.Ed. 891 (1956) (“Both equal protection and due *15             more than a mere advocate, but a fiduciary to
process emphasize the central aim of our entire judicial         fundamental principles of fairness.
system—all people charged with crime must, so far as the       Duggan v. State, 778 S.W.2d 465, 468 (Tex. Crim. App.
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1989) (citing Berger v. United States, 295 U.S. 78, 88, 55       6. Conclusion
S.Ct. 629, 79 L.Ed. 1314 (1935) ). Further, “[t]he Sixth
Amendment also imposes on the State an affirmative               For the foregoing reasons, we find that the State
obligation to respect and preserve the accused’s choice to       purposefully and improperly intruded into Morrison’s
seek assistance,” which means, “at the very least, the           attorney-client relationship when it obtained and reviewed
prosecutor ... [has] an affirmative obligation not to act in a   Morrison’s defense billing records.
manner that circumvents and thereby dilutes the
protection afforded by the right to counsel.” Moulton, 474
U.S. at 170–71, 106 S.Ct. 477.

It can hardly be considered a “fundamental principle of
fairness” that a potential roadmap of an indigent                   D. The State’s Intrusion into Morrison’s
defendant’s case as contained in her attorney’s billing             Attorney-Client Relationship Prejudiced her at
records—which exists only because the statute requires it           Trial
as a condition for payment—becomes *16 fair game for
the State’s review and use against her at trial should it be
disclosed during the processing of defense counsel’s
request for payment. Duggan, 778 S.W.2d at 468.                  1. Standard of Review
Allowing the State to do so clearly “circumvents and
thereby dilutes the protection afforded by the right to                 As noted above, it is not enough that a defendant
                                                                 [14] [15]

counsel.” Moulton, 474 U.S. at 170–71, 106 S.Ct. 477.            proves a purposeful intrusion, she must also prove that
Moreover, it is irrelevant whether the public filing of          she was prejudiced by that intrusion. *18 Murphy, 112
defense counsel’s billing records waived the attorney            S.W.3d at 602. A defendant is prejudiced by the State’s
work-product privilege. The State’s “affirmative                 intrusion into the attorney-client relationship if the State’s
obligation not to act in a manner that circumvents and           intrusion into her attorney-client relationship “produced,
thereby dilutes the protection afforded by the right to          directly or indirectly, any of the evidence at trial.”
counsel,” Id. at 170–71, 106 S.Ct. 477—and the                   Weatherford, 429 U.S. at 552, 97 S.Ct. 837. The
concomitant duty to refrain from reviewing the                   defendant satisfies her burden by showing one of the three
records—still applies. No matter who may be entitled to          following propositions: (1) that the State acquired
review such records, the State cannot.13                         evidence that originated by virtue of the intrusion, (2) that
                                                                 any information acquired by the State as a result of the
   Given (1) the constitutional basis for indigent defense,
[13]
                                                                 intrusion is “used in any other way to the substantial
(2) the administrative *17 nature of billing record              detriment of [the defendant],” or (3) that the State learned
submissions, (3) the work product status of those records,       details about the defendant’s trial preparations. Id. at 554,
(4) the strategic advantage such records would potentially       97 S.Ct. 837.
give the State, (5) the privileged nature of such records,
(6) the fact that billing records are only submitted in
indigent defense cases, and (7) the State’s unique
responsibility as a “fiduciary to fundamental principles of
fairness,” Id., it is clear that the State’s “affirmative
obligation not to act in a manner that circumvents and
thereby dilutes the protection afforded by the right to          2. Analysis
counsel,” Id. at 170–71, 106 S.Ct. 477, necessarily
                                                                 It is conceivable that the State might purposefully intrude
imposes a duty on a prosecuting attorney to refrain from
                                                                 into the defendant’s attorney-client relationship, but the
reviewing an indigent defendant’s attorney’s billing
records during the pendency of the case against that             intrusion would not prejudice the defendant because
defendant, no matter how they are acquired and regardless        nothing of value was gained. See Woodruff v. State, 330
                                                                 S.W.3d 709, 724 (Tex. App.—Texarkana 2010, pet.
of whether any privilege attendant to those records was
                                                                 ref’d), cert. denied, 565 U.S. 977, 132 S.Ct. 502, 181
waived by public disclosure.14
                                                                 L.Ed.2d 347 (2011) (holding that prejudice was not
                                                                 shown because “[t]he record .. does not contain evidence
                                                                 that the prosecutor or the police obtained any useful
                                                                 information”). Likewise, the State’s intrusion might not
                                                                 prejudice the defendant because nothing was obtained that
                                                                 was not already known to the State. See

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S.W.3d at 602 (holding that jail inspection providing the          E. The State’s Intrusion into Morrison’s
State with defendant’s correspondence with his attorney            Attorney-Client Relationship Was Not Harmless
was not prejudicial because the correspondence did not
contain any information that was not already in the State’s
possession from other sources).

   In this case, however, the State obtained useful
[16]                                                            1. Standard of Review
information from the billing records because it was able
                                                                       If the defendant meets her burden of proof and
                                                                [17] [18]
to suggest that Morrison had written a letter to her mother
                                                                establishes a purposeful intrusion into her attorney-client
admitting her involvement in the murder based on those
                                                                relationship and that she was prejudiced by that intrusion,
entries. Because there is no evidence that such a letter
                                                                then the State, as the “ ‘beneficiary of [the] constitutional
ever existed,15 then the State’s examination of Misty and
                                                                error’ must ‘prove beyond a reasonable doubt that the
arguments to the trial court in front of the jury improperly
                                                                error complained of did not contribute to the verdict
invited the jury to speculate about the existence of a letter
                                                                obtained.’ ” Wall v. State, 184 S.W.3d 730, 746, n.53
wherein Morrison admitted she was involved. Because the
                                                                (Tex. Crim. App. 2006). In resolving this question, “[w]e
primary question before the jury was whether Morrison
                                                                must calculate, as nearly as possible, the probable impact
was involved in the murder or was simply a bystander to
                                                                of the error on the jury in light of the other evidence. If
Sims’ actions, and because resolution of that question
                                                                there is a reasonable likelihood that the error materially
required the jury to interpret the evidence before it, the
                                                                affected the jury’s deliberations, then the error is not
State used the billing entries regarding the letter to shape
                                                                harmless beyond a reasonable doubt.” Id. at 746 n.52, 53.
the jury’s interpretation of the other evidence.
                                                                In making this determination, the Court of Criminal
                                                                Appeals has identified certain non-exclusive factors to
Likewise, there is nothing in the record showing that the
                                                                consider “including (1) the nature of the error, (2) the
information regarding Morrison’s letter to Misty came
                                                                extent the error was emphasized by the State, (3) the
from any source other than defense counsel’s billing
                                                                weight a juror would probably place on the error, and (4)
records. In fact, the State admitted to the trial court that
                                                                the error’s probable collateral consequences.”16 *20
the source for that information was the billing records
                                                                Flowers      v.    State,    438     S.W.3d      96,     110
themselves: “I e-mailed [defense counsel] last week and
                                                                (Tex.App.—Texarkana 2010) (citing Snowden v. State,
told him I’d reviewed his billing statements specifically
                                                                353 S.W.3d 815, 822 (Tex.Crim.App. 2011)).
regarding a letter that he received from Ms. Morrison.”
Thus, in this case, the State “used [information from the       [19] [20] [21] [22]
                                                                                      Moreover,
billing records] ... to the substantial detriment of
[Morrison].” Id.                                                   “there is no set formula for conducting a harm analysis
                                                                   that necessarily applies across the board to every case
Finally, as mentioned previously, we find that there is no         and every type of constitutional error.” These factors
evidence that a letter containing such an admission                “are not exclusive considerations in any particular
existed. However, even if it could be said that Misty’s            case,” and our inquiry should be “whether, or to what
testimony and the billing records constitute circumstantial        extent, the error may have contributed to the
evidence establishing the existence of an inculpatory              conviction” or increased the punishment. The ultimate
letter, then the State “acquired evidence that originated by       inquiry is “ ‘whether, assuming that the damaging
virtue of the intrusion.” Id. In that instance, the State’s        potential of the [inadmissible evidence] were fully
intrusion into *19 Morrison’s attorney-client relationship         realized, a reviewing court might nonetheless say that
would have “produced, directly or indirectly, any of the           the error was harmless beyond a reasonable doubt.’ ”
evidence at trial” by interjecting its theory about the         Id. Finally, even though error is harmless “if the jury’s
inculpatory letter before the jury. Weatherford, 429 U.S.       verdict would have been the same even if the erroneous
at 552, 97 S.Ct. 837. Therefore, regardless of whether the      evidence had not been admitted[,] ... if error has even a
State’s speculative theory is without evidentiary               ‘slight effect,’ it is not, beyond a reasonable doubt,
support—as we find here—or whether Misty’s testimony            harmless.” Id. (citing Clay v. State, 240 S.W.3d 895, 904
is somehow circumstantial evidence to support that              (Tex. Crim. App. 2007); Phillips v. State, 193 S.W.3d
theory, Morrison was prejudiced by the State’s intrusion        904, 913 (Tex. Crim. App. 2006) ).
into her attorney-client relationship.




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2. Analysis                                                     murder—together with the implication that defense
                                                                counsel had retrieved the letter and had failed to produce
   As noted previously, the State’s theory of Morrison’s
[23]
                                                                it—could have strongly influenced how the jury viewed
guilt was that she aided and assisted Sims in carrying out      the other evidence at trial. Because the State’s theory
the murder as a party under Texas law. For the jury to          regarding the letter was speculative, and because it went
find her guilty, it had to find that the evidence established   directly to the primary factual question for the jury to
beyond a reasonable doubt that Morrison, “acting with           decide, the jury was likely to give great weight to the
intent to promote or assist the commission of the offense,      error. Accordingly, the third factor weighs against the
... solicit[ed], encourage[ed], direct[ed], aid[ed], or         State.
attempt[ed] to aid [Sims] to commit the [murder of Annie
Sims.]” Tex. Penal Code Ann. § 7.02(a)(2) (West 2011).          Finally, the probable collateral consequences were
Thus, the key issue before the jury was whether Morrison        significant. By suggesting that Morrison had admitted her
was involved in the murder and was not simply a                 involvement in the murder in a letter to her mother, the
bystander to Sims’ actions. The State’s examination of          State cast the other evidence in a more negative light. In
Misty and its arguments to the trial court about the letter     fact, the State argued to the jury that Morrison was
went directly to that issue.                                    essentially lying about her lack of involvement. To
                                                                suggest that she had written a letter admitting her
In addition, the evidence against Morrison was subject to       involvement prior to trial would tend to bolster the State’s
interpretation. There was no direct evidence that Morrison      argument that she was lying.
was involved in the murder. Instead, the State sought to
establish her involvement circumstantially by showing           Also, by suggesting in front of the jury that defense
that her conduct and statements before, during, and after       counsel had retrieved the letter and should produce it
the murder suggested her involvement. Consequently, the         suggested that defense counsel knew it was inculpatory
nature of the error is that it suggested the existence of       and was hiding it from the jury. Moreover, although the
other evidence not in the record and it invited the jury to     matter was discussed in detail after the jury was excused,
speculate that that evidence was inculpatory.                   this suggestion was initially made in front of the jury.
                                                                However, no explanation was ever given to the jury when
The Court of Criminal Appeals has held that the State           it was brought back into the courtroom. Instead, they were
engages in prosecutorial misconduct where it “inject[s]         left to speculate about the letter’s existence and defense
matters not in the record,” which “is clearly improper.”        counsel’s possession of it. The fourth factor weighs
Berryhill v. State, 501 S.W.2d 86, 87 (Tex. Crim. App.          strongly against the State.
1973). The Court of Criminal Appeals noted that
“argument inviting speculation is even more dangerous           In sum, while the second factor weighs in the State’s
because it leaves to the imagination of each juror              favor, the other factors weigh against it. Consequently, we
whatever extraneous ‘facts’ may be needed to support a          find that the error resulting from the State’s Sixth
conviction. Logical deductions from evidence do not             Amendment violation had “even a ‘slight effect’ ” on the
permit within the rule logical deductions from                  jury’s verdict and, therefore, was not harmless beyond a
non-evidence.” Id. Therefore, the nature of the error was       reasonable doubt.
significant.

The State notes that the letter was never admitted into
evidence, there was no other evidence establishing an
incriminating statement by Morrison, and “the jury heard
about this jail-letter for a brief period *21 of time that         F. Morrison Did Not Waive her Sixth Amendment
comprised approximately five (5) pages of the Reporter’s           Claim Against the State by Failing to Object to the
Record.” It is true that the State did not emphasize the           State’s Use and Possession of the Billing Records
error repeatedly. Accordingly, the second factor weighs in      The State argues that Morrison forfeited any argument
the State’s favor.                                              that it violated her Sixth Amendment right to counsel
                                                                when she failed to object to the State’s review and use of
On the other hand, the nature of the error was one which a      defense counsel’s billing records at trial. The Court of
juror would give great weight in a case like this. As noted,    Criminal Appeals has held that, generally, “all a party has
this was a circumstantial case of guilt, and the key            to do to avoid forfeiture of a complaint on appeal is to let
question for the jury was whether Morison was involved          the trial judge know what he wants, why he thinks himself
in the murder. The suggestion that a letter containing an       entitled to it, and to do so clearly enough for the judge to
admission by her of her involvement in the                      understand him at a time when the trial court is in a
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proper position to do something about it.” Lankston v.               conclusion.
State, 827 S.W.2d 907, 909 (Tex. Crim. App. 1992).                Rose v. State, 752 S.W.2d 529, 536 (Tex. Crim. App.
Morrison did not object to either the State’s possession or       1987), abrogated on other grounds by Karenev v. State,
use of defense counsel’s billing records against her.             281 S.W.3d 428 (Tex. Crim. App. 2009). Once those
                                                                  elements are present, then the details of the trial
       In Marin v. State, the Texas Court of Criminal
[24] [25]
                                                                  may—and most certainly will—vary.18
Appeals noted that there are three categories of rights: (1)
forfeitable rights, (2) waivable rights, and (3)                  [28] [29] [30] [31]
                                                                                      The Court of Criminal Appeals has also
non-waivable rights. Marin v. State, 851 S.W.2d 275,              noted that “the search for truth is an integral part of the
279–80 (Tex. Crim. App. 1993), overruled on other                 adversary process, [yet] other equally prominent features
grounds by Cain v. State, 947 S.W.2d 262 (Tex. Crim.              characterize our system.” Morrison v. State, 845 S.W.2d
App. 1997). The Court of Criminal Appeals held *22 that           882, 884 (Tex. Crim. App. 1992). The Court of Criminal
most rights are forfeitable. Id. at 278. On the other hand,       Appeals continued, “The adversary theory as it has
“[r]ights which are waivable only, as well as absolute            prevailed for the past 200 years maintains that the
systemic requirements and prohibitions, cannot be made            devotion of the participants, judge, juror and advocate,
subject to rules of procedural default because, by                each devoted to a single function, leads to the fairest and
definition, they are not forfeitable.” Id. at 279.                most efficient resolution of the dispute.” Id. at 885. And
Fundamental errors are trial errors which implicate               we noted in Woodruff,
non-forfeitable rights. Since such rights are
non-forfeitable, they cannot be forfeited on appeal by              The fundamental justification for the sixth amendment
failing to lodge a trial objection to their violation at trial.     right to counsel is the presumed inability of a defendant
                                                                    to make informed choices about the preparation and
   Different characterizations of fundamental error have
[26]                                                                conduct of his defense. Free two-way communication
been offered.17 Yet, *23 no consistent definition has               between client and attorney is essential if the
emerged. Essentially, the cases declaring certain errors to         professional assistance guaranteed by the sixth
be fundamental constitute judgment calls that the right in          amendment is to be meaningful. The *24 purpose of the
question is so important that any alleged violation of that         attorney-client privilege is inextricably linked to the
right should never escape appellate review. See 43A                 very integrity and accuracy of the fact-finding process
George A. Dix, et al., Texas Practice Series: Criminal              itself. Even guilty individuals are entitled to be advised
Practice & Procedure, § 53:135 (suggesting that “[a]                of strategies for their defense. In order for the
right should be held to be fundamental only if, balancing           adversary system to function properly, any advice
all the relevant considerations, recognizing it when raised         received as a result of a defendant’s disclosure to
for the first time on appeal sufficiently serves important          counsel must be insulated from the government.
enough interests to outweigh the cost paid by dispensing          Woodruff, 330 S.W.3d at 724 (quoting United States v.
with the need for a trial court objection”). While there is       Levy, 577 F.2d 200, 209 (3rd Cir. 1978) ) (emphasis
no settled definition of fundamental error, it may be             added). Finally, the right to the appointment of counsel is
observed that many of the errors which have been                  chief among those “fundamental rights, safeguarded by
declared to be fundamental threaten a right which is              the first eight amendments against federal action [which
essential to the proper functioning of a fair and impartial       are] also safeguarded against state action by the due
trial. See Marin, 851 S.W.2d at 278 (“Some rights are             process clause of the Fourteenth Amendment.” Gideon,
widely considered so fundamental to the proper                    372 U.S. at 343, 83 S.Ct. 792.
functioning of our adjudicatory process as to enjoy special
protection in the system.”).                                         The State’s purposeful intrusion into the defendant’s
                                                                  [32]

                                                                  attorney-client relationship threatens this fundamental
[27]
       As the Court of Criminal Appeals has described it,         requirement of an adversarial system designed to protect
                                                                  “[due] process and individual rights” that are “intrinsic to
   an essential ingredient of a fair and impartial                the adversary process due largely to a general distrust of
   adversarial proceeding, including a hearing on                 government power.” Marin, 851 S.W.2d at 278;
   punishment, is that the ultimate conclusion of the             Morrison, 845 S.W.2d at 884–85. Errors of this type
   fact-finder be a determination of issues tendered by           threaten the “proper functioning of our adjudicatory
   pleadings giving adequate notice, raised by evidence           process.” Marin, 851 S.W.2d at 278. They should not
   properly admitted, upon an opportunity for defendant to        escape appellate review due to procedural bar.
   confront adverse witnesses and be heard by an                  Consequently, we find that Morrison did not forfeit her
   impartial fact-finder under fair procedures provided by        complaint that the State intruded into her attorney-client
   law, including some showing of the basis of that               relationship in violation of the Sixth Amendment.19
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                                                                 majority of instances, the record on direct appeal is
                                                                 simply undeveloped and cannot adequately reflect” the
                                                                 reasoning of trial counsel. Id. at 813–14. Only in the rare
                                                                 case “in which trial counsel’s ineffectiveness is apparent
                                                                 from the record” may the appellate court “address and
IV. Defense Counsel Provided Ineffective Assistance to           dispose of the claim on direct appeal.” Lopez, 343 S.W.3d
Morrison                                                         at 143.
In her second point of error, Morrison argues, “The bill
trial counsel submitted a year and a half before the trial                 Yet, “[t]his measure of deference ... must not be
                                                                 [40] [41] [42]
started was unnecessarily detailed[,] and its creation and       watered down into a disguised form of acquiescence.”
submission constituted ineffective assistance of counsel.”       Profitt v. Waldron, 831 F.2d 1245, 1248 (5th Cir. 1987)
For the reasons stated below, we agree with Morrison.            (finding ineffective assistance where counsel failed to
                                                                 request medical records and relied on court-appointed
                                                                 competency examination when he knew client had
                                                                 escaped from mental institution). “Defense counsel is
                                                                 presumed to know the applicable law.” Davis v. State, 413
                                                                 S.W.3d 816, 833 (Tex. App.—Austin 2013, pet. ref’d)
   A. Standard of Review
                                                                 (citing Ex parte Welch, 981 S.W.2d 183, 185 (Tex. Crim.
              To establish ineffective assistance of counsel,
[33] [34] [35] [36]
                                                                 App. 1998) ). Though individually, instances of
a defendant must first show that counsel’s performance
                                                                 substandard representation may not establish ineffective
was deficient. Strickland, 466 U.S. at 687, 104 S.Ct.
                                                                 assistance, multiple failures can compel such a finding.
2052; Thompson v. State, 9 S.W.3d 808, 812 (Tex. Crim.
                                                                 Greene v. State, 928 S.W.2d 119 (Tex. App.—San
App. 1999). This requires a showing that counsel made
                                                                 Antonio 1996, no pet.). In all cases, the “ultimate focus of
errors so serious that counsel was not functioning as the
                                                                 inquiry must be on the fundamental fairness of the
counsel guaranteed defendants by the Sixth Amendment
                                                                 proceeding.” Ex parte Martinez, 330 S.W.3d 891, 901
to the United States Constitution. Id. Once that first prong
                                                                 (Tex. Crim. App. 2011) (quoting Strickland, 466 U.S. at
is established, it must be further shown that the deficient
                                                                 696, 104 S.Ct. 2052).
performance prejudiced the defense. Id. This requires a
showing that counsel’s errors were so serious that they
deprived the defendant of a fair trial, a trial whose result
is reliable. Id. Claims of ineffective assistance of counsel
must be firmly rooted in the record, with the record itself
affirmatively demonstrating the alleged ineffectiveness.            B. Defense Counsel’s Performance Was Deficient
Lopez v. State, 343 S.W.3d 137, 142–43 (Tex. Crim. App.
2011). Failure to satisfy either prong of the Strickland test
is fatal. Ex parte Martinez, 195 S.W.3d 713, 730 n.14
(Tex. Crim. App. 2006). Thus, we need not examine both
Strickland prongs if one cannot be met. Strickland, 466          1. Exposure of Privileged Attorney Work Product
U.S. at 697, 104 S.Ct. 2052.
                                                                    As noted, the billing records themselves constituted
                                                                 [43]

*25             We indulge a strong presumption that
       [37] [38] [39]                                            attorney work product. See Nat’l Lloyds Ins. Co., 532
counsel’s conduct falls within the wide range of                 S.W.3d at 803; Skinner v. State, 956 S.W.2d 532, 538–39
reasonable, professional assistance and that it was              (Tex. Crim. App. 1997). Given the extraordinary detail
motivated by sound trial strategy. See Jackson v. State,         contained in the records, no aspect of Morrison’s defense
877 S.W.2d 768, 771 (Tex. Crim. App. 1994). “If                  strategy or activity was protected from the State.
counsel’s reasons for his conduct do not appear in the           Accordingly, we can discern no strategic reason why
record and there is at least the possibility that the conduct    defense counsel would disclose such detailed information
could have been legitimate trial strategy, we will defer to      in his billing records.20
counsel’s decisions and deny relief on an ineffective
assistance claim on direct appeal.” Ortiz v. State, 93
S.W.3d 79, 88–89 (Tex. Crim. App. 2002). Rarely will a
reviewing court be provided the opportunity to make its
determination on direct appeal with a record capable of
providing an evaluation of the merits of ineffective             2. Exposure of Attorney-Client Privileged Information
assistance claims. Thompson, 9 S.W.3d at 813. “In the

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   Defense counsel’s billing records also contain
[44]

confidential communications with Morrison which are
clearly covered by the attorney-client privilege. Only
Morrison had the authority to waive that privilege, not
defense counsel. See Carmona v. State, 941 S.W.2d 949,          3. Failure to Attempt Remedial Measures
956 (Tex. Crim. App. 1997) (Baird, J., concurring) (“only
                                                                Furthermore, having created and exposed the information
the client, or an attorney acting with the client’s consent,
                                                                to disclosure, defense counsel failed to take any remedial
may waive the attorney-client privilege [and] Texas law
                                                                measures once he learned—the week before trial—that
does not *26 authorize attorneys to unilaterally waive the
                                                                the State had possession of the information and intended
attorney-client privilege for their clients; only the client
                                                                to use it against Morrison at trial. There is no indication
may relinquish the privilege”). There is no indication that
                                                                that defense counsel requested that the billing records be
Morrison authorized waiver of the privilege by defense
                                                                filed under seal prior to and pending trial, moved to seal
counsel. In fact, there is no indication or reason to believe
                                                                the records once it became known that the State possessed
that Morrison ever saw defense counsel’s billing records
                                                                them and was intending to use them at trial, filed a motion
before they were submitted for payment.
                                                                in limine or a motion to exclude the records and any
                                                                information obtained from the records, or even objected
   Moreover, the attorney-client privilege survives the
[45]
                                                                to the State’s use of those billing records when the State
client’s death and may even be asserted by the client’s
                                                                began referring to information contained in them at trial.
personal representative. See Tex. R. Evid. 503(c)(3).
                                                                Although there is no indication Morrison waived her
Therefore, even if defense counsel had waited to submit
                                                                attorney-client privilege, defense counsel failed to assert
his bills for payment until after completion of the trial in
                                                                that privilege when he learned that the State had
this case, the privilege would still have prevented
                                                                possession of the records or when the State actually used
disclosure of the content of his, his investigator’s, or the
                                                                them at trial.
defense psychologist’s conversations with Morrison.
Furthermore, Rule 1.05 of the Texas Disciplinary Rules of
                                                                In addition, defense counsel did not ask the trial court to
Professional Conduct specifically prohibits an attorney
                                                                instruct the State to return all copies of the billing records.
from         knowingly         revealing       “confidential
                                                                Nor did he ask the trial court to instruct the State’s
information”—which         “includes     both    ‘privileged
                                                                attorney to refrain from asking any further questions
information’ and ‘unprivileged information’ obtained
                                                                about the alleged letter or any other item derived from the
from the client—to “(i) a person that the client has
                                                                records. He also failed to ask the trial court *27 for an
instructed is not to receive the information; or (ii) anyone
                                                                instruction to the jury to disregard the State’s questions
else, other than the client, the client’s representatives, or
                                                                and comments about the letter or defense counsel’s duty
the members, associates, or employees of the lawyer’s
                                                                to produce it. Finally, he did not move for a mistrial based
law firm.” See Tex. Disciplinary Rules Prof’l Conduct R.
                                                                on the State’s interjection of the information from the
1.05(a), (b)(1), reprinted in Tex. Gov’t Code Ann., tit. 2,
                                                                billing records. We can perceive of no strategic reason
subtit. G, app. A-1 (West 2013).
                                                                why defense counsel would have offered no attempt to
                                                                stop the State from using his billing records against
   It is true that appellate courts are admonished that,
[46]
                                                                Morrison once he learned they were in the State’s
“[u]nder the Strickland standard, breach of an ethical
                                                                possession.
standard does not necessarily make out a denial of the
Sixth Amendment guarantee of assistance of counsel.”
                                                                Defense counsel also failed to introduce other items of
Nix. v. Whiteside, 475 U.S. 157, 165, 106 S.Ct. 988, 89
                                                                evidence available that tended to mitigate the damage
L.Ed.2d 123 (1986). Yet, while the ethical standard in
                                                                caused by the State’s use of his billing records. As
Rule 1.05 “does not necessarily make out a denial of the
                                                                previously mentioned, Sims wrote a letter to Morrison’s
Sixth Amendment guarantee of assistance of counsel,” it
                                                                parents claiming that it was all his fault and that Morrison
is relevant to determining whether there is any strategic
                                                                had nothing to do with the murder. In addition, at the time
reason for defense counsel’s actions. Id. Given the nature
                                                                of his arrest in Oklahoma, Sims told the arresting officer
of the prohibition in both Rule 503 and Rule 1.05, we can
                                                                that he was solely responsible for Annie’s murder.21
perceive no strategic reason why—under the
                                                                Nevertheless, defense counsel did not attempt to offer
circumstances of this case—defense counsel would ever
                                                                Sims’ letter, and the oral statement was not admitted
disclose the detailed confidential communications
                                                                because Morrison’s counsel failed to assert the
included in his billing records.
                                                                well-known hearsay exception available for an admission
                                                                against interest. Defense counsel’s failure is especially
                                                                troubling considering that the trial court rather pointedly

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asked Morrison’s counsel if his only basis for urging         existence of a letter from Morrison to her mother wherein
admission of the statement was the excited-utterance          she admitted her involvement in the murder—which did
exception. Both of these items were admissible as             not exist—is combined with the fact that the jury did not
statements against Sims’ interest.22 We can perceive no       hear about Sims’ oral and written admissions that he was
strategic reason why defense counsel would not attempt to     solely responsible for the murder—which did exist—then
offer one or both items for the jury’s consideration,         we find that there is a reasonable probability that, but for
especially after the State had speculated before the jury     defense counsel’s deficient performance, the result would
that Morrison had written a letter admitting her              have been different.23
involvement in the murder.
                                                              Accordingly, we find that defense counsel’s
                                                              representation of Morrison was deficient and that it
                                                              prejudiced her at trial. Therefore, Morrison has
                                                              established that she received ineffective assistance of
                                                              counsel in violation of her Sixth Amendment right to
  C. Morrison Was Prejudiced by Defense Counsel’s             counsel. Consequently, we sustain Morrison’s second
  Deficient Performance                                       point of error.
Furthermore, Morrison was prejudiced by defense
counsel’s deficient performance. The Court of Criminal
Appeals has held that,

   [t]o satisfy the second prong of the Strickland test, we
   do not require that the appellant show that there would    V. The State’s Intrusion Into Morrison’s
   have been a different result if counsel’s performance      Attorney-Client Relationship and Defense Counsel’s
   had not been deficient. The defendant must show only       Ineffective Assistance of Counsel Combined to
   that ‘there is a reasonable probability that, but for      Prejudice Morrison
   counsel’s unprofessional errors, the result of the         The prejudice Morrison experienced in this case arose
   proceeding would have been different. A reasonable         from both the State’s and defense counsel’s actions and
   probability is a probability sufficient to undermine       inactions. Defense counsel created the problem by
   confidence in the outcome.’ ”                              creating billing records with far too much detail in them
Andrews v. State, 159 S.W.3d 98, 102 (Tex. Crim. App.         and submitting them for payment without attempting to
2005) (quoting Strickland, 466 U.S. at 690, 104 S.Ct.         protect the details from disclosure. The State compounded
2052). In Strickland, the Supreme Court also held, “The       the problem by obtaining, reviewing, and then using
result of a proceeding can be rendered unreliable, and        information from those records to suggest Morrison had
hence the proceeding itself unfair, even if the errors of     written a letter admitting her involvement in the murder
counsel cannot be shown by a preponderance of the             and that defense counsel had retrieved the letter and was
evidence to have determined the outcome.” Strickland,         refusing to produce it for trial. Defense counsel further
466 U.S. at 694, 104 S.Ct. 2052.                              compounded the problem by failing to object to the
                                                              State’s actions, by failing to attempt remedial measures,
   Defense counsel’s creation of the detailed billing
[47]
                                                              and by failing to introduce exculpatory evidence
records allowed the State to create a false impression        favorable to Morrison. Accordingly, the individual actions
before the jury that Morrison had written her mother a        and inactions by the State and defense counsel combined
letter admitting her involvement in the murder, that          to prejudice Morrison to a greater extent than either
defense counsel had retrieved the letter, and that defense    would have accomplished on their own.
counsel should have produced it at trial but did not. His
*28 subsequent failure to take protective measures to
shield the information contained in those records from the
State or to protect Morrison from the State’s subsequent
use of those records at trial further prejudiced Morrison.
Moreover, defense counsel’s failure to admit one or both      VI. The Appropriate Remedy
of Sims’ statements against interest prevented the jury       Morrison asks that we reverse her conviction and render a
from hearing evidence that supported her defense of the       judgment of acquittal in this case. Alternatively, she asks
case. Consequently, defense counsel not only disclosed        that we grant her a new trial with “a new lawyer, and the
information that was privileged, he also failed to            judge and prosecutor connected with the case should be
introduce evidence that was exculpatory. When the             disqualified.” Supplemental Brief of Appellant at 12.
State’s argument that the billing records established the     Accordingly, we must determine what will be the

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appropriate remedy in this case.                               allegedly inculpatory letter and implying that defense
                                                               counsel acted inappropriately in handling that letter, the
                                                               State “inject[ed] matters not in the record” and “invit[ed]
                                                               the jury to speculate on what those matters were.”
                                                               Berryhill, 501 S.W.2d at 87. Because the key question
                                                               before the jury was whether Morrison was involved in the
   A. Standard of Review                                       murder as a party or whether she was merely a bystander
In State v. Frye, the Court of Criminal Appeals held,          to Sims’ actions, and because the evidence against
                                                               Morrison was circumstantial and subject to the jury’s
  The Supreme Court stated that suppressing evidence           interpretation, interjection of those speculative matters
  and limiting cross-examination *29 are the preferred         into the record necessarily tainted the jury’s view and
  methods for neutralizing the effects of right to counsel     interpretation of the evidence on the key question in the
  violations. However, the Supreme Court opined that           case. However, we find that this prejudice can be
  dismissal may be warranted where a defendant suffers         remedied by granting Morrison a new trial and by
  demonstrable prejudice, or a substantial threat thereof,     suppressing the State’s use of the billing records as well
  and where the trial court is unable to ‘identify and         as any prior trial testimony or other evidence arising from
  neutralize the taint’ by other means. Because of this        them. This will allow a jury to decide Morrison’s guilt on
  need to sometimes neutralize or rectify these                the evidence and not on the collateral matters arising from
  transgressions, we are of the opinion that dismissal of      the billing records. In short, we can “tailor[ ] relief
  an indictment, although a drastic measure only to be         appropriate in the circumstances [in this case] to assure
  used in the most extraordinary of circumstances, may         [Morrison] the effective assistance of counsel and a fair
  be necessary to adequately protect a defendant’s Sixth       trial” by “denying the prosecution of the fruits of its
  Amendment right to counsel.                                  transgression.” Morrison, 449 U.S. at 365–66, 101 S.Ct.
State v. Frye, 897 S.W.2d 324, 330 (Tex. Crim. App.            665.
1995) (citing U.S. v. Morrison, 449 U.S. 361, 365, 101
S.Ct. 665, 66 L.Ed.2d 564 (1981)); see also Woodruff,          As we discussed above, defense counsel also submitted
330 S.W.3d at 724 (holding that dismissal is appropriate       his and the defense investigator’s second set of bills to the
only when the suppression of evidence is insufficient to       trial court for payment after completion of the trial.24
purge the taint of the violation).                             Because the second set of billing records *30 was not
                                                               available for the State to review prior to trial, we find that
            Consequently, in determining the appropriate
[48] [49] [50]
                                                               it had no effect on the previous trial. However, the
remedy in this case, we must determine whether we may          potential exists that information from those records could
“tailor[ ] relief appropriate in the circumstances to assure   be used on remand. Accordingly, on remand we order that
[Morrison] the effective assistance of counsel and a fair      both sets of billing records and all testimony or evidence
trial” by “denying the prosecution of the fruits of its        derived from either set be suppressed. Nevertheless, we
transgression.” Morrison, 449 U.S. at 365–66, 101 S.Ct.        make no ruling on whether the State’s possession of the
665. If so, then “suppressing [the] evidence and limiting      second set of records constitutes a continuing Sixth
cross-examination [is] the preferred method[ ] for             Amendment violation. Nor do we make any ruling about
neutralizing the effects of right to counsel violations.”      whether suppression of the second set of records would be
Frye, 897 S.W.2d at 330. On the other hand, if it is           sufficient to remedy any such violation. We leave those
impossible to “neutralize or rectify [the State’s]             matters to be addressed by the trial court on remand upon
transgressions, ... dismissal of [the] indictment ... may be   proper request.
necessary to adequately protect [Morrison’s] Sixth
Amendment right to counsel.” Id.



                                                                 C. Other Requests for Relief
                                                                  Morrison has also asked that, on remand, we order that
                                                               [52]
   B. Analysis                                                 she receive a new attorney, a new trial judge, and a new
   As noted, in this case, the prejudice resulting from the
[51]
                                                               prosecutor. The record reflects that a visiting judge was
State’s intrusion into Morrison’s attorney-client              appointed to preside over the previous trial because there
relationship—and       defense      counsel’s      deficient   was a vacancy in the trial court at that time. We take
performance in failing to prevent the State’s actions or to    judicial notice that the vacancy has now been filled.
remedy them—is that by questioning Misty about the             Accordingly, upon remand, a different judge will preside
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over the case without the necessity of any order by this                  derives from those billing records as “fruit of the
Court. We, therefore, make no ruling regarding                            poisonous tree.” We make no ruling on Morrison’s
Morrison’s request that a new trial judge be appointed to                 request for a new trial judge, new prosecutor, and new
hear her case. We leave Morrison’s requests that a new                    defense counsel. We also make no ruling on whether—on
defense attorney and a new prosecutor be appointed to be                  remand—any Sixth Amendment violations continue to
addressed by the trial court on remand upon proper                        occur as a result of the State’s possession of the second
request.                                                                  set of billing records and, if so, whether suppression of
                                                                          those records is sufficient to remedy any such violations.
                                                                          Because our holdings on the points of error resolved in
                                                                          this opinion are dispositive, we do not address Morrison’s
                                                                          remaining points of error. Finally, we direct the trial court
                                                                          to take all other actions consistent with this opinion.
VII. Conclusion
For all of the foregoing reasons, we reverse the judgment
of conviction and sentence and remand this case to the                    All Citations
trial court for a new trial. We also direct the trial court to,
on remand, suppress both sets of both defense counsel’s                   575 S.W.3d 1
and the defense investigator’s billing records, together
with all prior or future testimony or evidence which

Footnotes

*       Bailey C. Moseley, Justice Retired, Sitting by Assignment


1       Our opinion is limited to cases where, as here, the prosecuting attorney reviewed an indigent defendant’s defense billing records
        while prosecuting that defendant.

2       Defense counsel submitted two sets of billing records to the trial court for payment, one before trial and one after trial was
        completed. Both sets of bills contained the same level of detail. Because the State could not have seen the second set of records
        before the trial, we do not factor the second set of records into our analysis.

3       Specifically, defense counsel disclosed the following:
                • 12/24/14 Jim Chadwick [defense investigator] and I went and looked at the scene of the events that led to our client
                being jailed. We then went to jail and talked to client. Client tells us that she and the boy she was dating was threatening
                her family and that she and he left her home on Tuesday nite and walked in the rain; that a man gave them a ride, that
                they went to the boy’s grandparents home, that they then went to church, then went to aunt’s home, boy left with gun,
                came back, they went to OK, and were arrested.
                • 12/29/14 Went to jail after lunch and talked to client; told her that we were having bond reduction hearing on
                December 30. Talked to her about how frightened she was of boy.
            ....
                • 1/05/15 Met with client at the jail and talked to her about another interview with Stacy McNeil and also about taking a
                polygraph exam. Went over in detail what happened and talked to her about things she had told that were not exactly
                true. Went and talked to her parent[s] at their home and brought them up to date as to what is going on.
                • 1/16/15 Met with Jim Chadwick, He had gotten a letter that the client’s parents had received from Christian.
                • 1/20/15 Client was polygraphed by secret service. Client failed the polygraph. She and boy planned the murder. She
                denies being at the scene or participating in the actual murder.
                • 1/26/15 Met with Jim about his meeting with client. Client told him that Christian had told her that he was going to kill
                his grandmother.
                • 1/27/15 Met with client at jail for first time since the polygraph. She told me what had happened and apologized for not
                telling Jim and I the truth. I will talk to [DA] Gary [Young] soon about what he wants to do.
                • 1/29/15 Met with Jim Chadwick regarding letter that [Morrison] had sent to her parent. It was very long and sad. We
                discussed what she should tell her parent. [T]he letter is long and convoluted.
                • 2/05/15 Jim and I discussed what we thought Ashley’s involvement in the killing to be. We both had believed her and
                now that she has failed to tell us the truth we have reservations about her overall.
                • 2/17/15 Met with Jim regarding getting an expert to help with this girl’s case. We called Jan Langbein and talked to her
                at length and she said she did not think that this case was within her area of expertise. Called Chuck Keenan and he
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              referred us to Dr. Rycke L. Marshall in Dallas. We called Dr. Marshall and left a message asking her to call me.
              • 3/16/15 Went to jail and talked to client. Told client about Christian being diagnosed as incompetent and insane, told
              her about Dr. Marshall, told her about her indictment, and told her about needing to write her story and have it ready for
              Dr. Marshall....
              • 3/31/15 Went to jail and talked to client. Told her that Dr. Marshall would be up here next week to talk to her. Told her
              to tell Dr. Marshall the truth. This child is beginning to wear down, and I am very concerned about her. I hope that Dr.
              Marshall can give her some help.
              • 5/12/15 Called [defense psychologist] Dr. Marshall and talked to her about her interviews with Ashley. She had lots of
              thoughts about Ashley being a hostage. She wants to do some more testing and I want her to be present when I visit with
              her.
              • 6/05/15 Met with Ashley, Dr. Marshall and Jim at the Jail. Dr. Marshall has finished her testing. She tells us that Ashley
              was easily influenced and that Sims had taken control of her. That she was frightened of him and that he had threatened
              her family. We agreed that Dr. Marshall is going to do questions for Ashley and then for herself. We [sic] what would be
              acceptable for a plea bargain.
              • 6/30/15 Talked to Ashley about the hearing on the boy’s competency. Told her about his mental illness. Talked to her
              about his mental situation when he was with her. She said she did not recognize how disturbed he was until he actually
              killed his grandmother. She told me he had become more abusive and controlling as their relationship continued and that
              he would hit her and claim it was an accident.

4      Among the items of evidence admitted at trial, the State presented Morrison’s two recorded statements to Texas Ranger Stacey
       McNeal, text messages between Morrison and Sims before and after the murder, and surveillance footage from a Walmart in
       Oklahoma. The State also presented testimony from a witness with whom Morrison and Sims had hitched a ride the night they
       left Morrison’s home. There was no direct evidence that Morrison was involved in the murder. Rather, the State offered an
       interpretation of the evidence that it believed proved her involvement.
       For example, the State argued that Morrison made several inconsistent statements in her two interviews and that those
       inconsistent statements demonstrated that Morrison knew in advance about Sims’ intent to kill his grandmother and that she
       was in agreement. The State also claimed that Morrison admitted helping Sims load the weapon used to kill the victim. In
       addition, the State argued that the text messages from Morrison’s cell phone undercut her claims that they did not intend to
       travel anywhere the night they left home, but only planned to walk around the city of Paris, Texas. The State pointed out several
       texts between Morrison and Sims which it claimed indicated Morrison had no problem with Sims’ plan to leave home and was a
       willing participant in that plan. The State also pointed out texts by Morrison wherein she was contemptuous towards her parents
       and voiced approval of Sims’ statements that he was going to beat up her father. The State argued that Morrison had access to a
       phone at Sims’ aunt’s house, but that she did not call anyone to help her. The State also introduced a surveillance recording from
       the Walmart in Oklahoma after the murder on which Morrison can be seen holding Sims’ hand and pointed out that, in one of
       her statements, she said she told Sims not to take the gun into Walmart and that he complied with her command. The State
       argued that that statement showed that she was in charge in their relationship.
       The defense argued a different interpretation of the evidence. According to defense counsel, the evidence depicted a young
       woman in a relationship with a very troubled young man that spiraled out of control. Defense counsel argued that she was
       seventeen years old and that she was being interviewed by very skilled law enforcement agents who were skilled at getting
       people to say things they did not mean. Defense counsel disputed that Morrison had admitted helping Sims load the gun, but
       instead said that, when Sims dropped the bullets, she picked them up off the floor and handed them to him. Counsel also argued
       that the evidence must be interpreted from the perspective of a seventeen-year-old girl who was in a car with someone she just
       learned had killed his grandmother. He pointed out that, after she and Sims left her home, she did not have her cell phone with
       her and had no car. Defense counsel argued that—at seventeen years of age—Morrison did not think as an older adult would
       think. Instead, defense counsel argued that her demeanor in her statements was consistent with a frightened young woman
       rather than someone who had willingly participated in a murder. Finally, defense counsel argued that there was no reason for
       Morrison to call anyone from Sims’ aunt’s house because she was running away.

5      Specifically, the State suggested, through Misty’s testimony, (1) that Morrison had written her a letter from jail, (2) that Morrison
       had, at some point, talked to her about the murder, (3) that Misty was so concerned about the letter that she turned it over to
       her attorney, (4) that she and the attorney and investigator had talked about the letter, (5) that defense counsel had obtained
       the letter from her before trial, and (6) that, as of the time of trial, the letter could not be found.

6      It is undisputed that the billing records reflect the existence of a letter that Morrison wrote to Misty from jail prior to trial. It is
       also undisputed that the letter was “sad” and “convoluted” and that it caused Misty such concern that she called the defense
       investigator to retrieve the letter. What is in dispute is whether that letter contained an admission by Morrison that she was
       involved in the murder.

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       There is no direct evidence that the letter included an admission of involvement. The letter was never admitted into evidence at
       trial. Only four people saw the letter: Morrison, defense counsel, the defense investigator, and Misty. Morrison did not testify.
       Defense counsel stated that he did not know of any inculpatory information in any of the letters he obtained from Misty.
       Although he did not testify, when asked to search the defense files and find the letter referenced in his billing records, the
       defense investigator produced a letter Sims had written to Misty wherein Sims declared his sole responsibility for the murder.
       The defense investigator also informed defense counsel via text message that it was the Sims letter he was referencing in his
       billing records. And Misty consistently testified that she did not recall what was in the letter.
       Nor is there any circumstantial evidence that the letter contained that admission. Nothing in the billing record entries suggest the
       content of the letter. Misty admitted that she “thought [the letter] was of significant import,” but she never testified or implied
       that she deemed it important because it contained an admission by Morrison that she was involved in the murder. Rather, she
       denied having any recollection or knowledge of the contents of the letter on six different occasions. While Misty was concerned
       about the contents of the Morrison letter, there is no evidence that the cause for her concern was an admission by Morrison.
       Accordingly, the State’s examination of Misty invited the jury to speculate that the only possible cause for Misty’s concern was
       that the letter contained an admission of guilt. Juries are not permitted to base verdicts on speculation. See Hooper v. State, 214
       S.W.3d 9, 16 (Tex. Crim. App. 2007) (“juries are permitted to draw multiple reasonable inferences from the evidence (direct or
       circumstantial), but they are not permitted to draw conclusions based on speculation”).

7      In her original brief on appeal, Morrison contends that the State violated her Sixth Amendment rights and that defense counsel
       provided ineffective assistance at trial. However, the billing records at issue were not included in the original clerk’s record. After
       Morrison filed her brief to this Court, the district clerk filed a supplemental clerk’s record including the billing records. At that
       point, Morrison filed a Motion to Reopen Briefing Based on New Evidence. That motion was granted by letter from this Court
       dated March 21, 2018, and Morrison filed her supplemental brief before the State filed its brief. Thus, we consider both briefs in
       evaluating the issues on appeal.

8      Of course, there are exceptions to this general rule. For example, the State is entitled to the names and addresses of any expert
       witnesses the defendant intends to call at trial. See Tex. Code Crim. Proc. Ann. art. 39.14(b) (West Supp. 2018); see also Pope v.
       State, 207 S.W.3d 352, 360 (Tex. Crim. App. 2006). Likewise, a defendant may be required to disclose a witnesses’ notes if the
       witness makes testimonial use of the material at trial. Skinner v. State, 956 S.W.2d 532, 539 (Tex. Crim. App. 1997); see also
       Ballew v. State, 640 S.W.2d 237, 240 (Tex. Crim. App. 1980) (holding that attorney-client privilege extended to defendant’s
       psychiatric expert witness was waived when he took the stand and testified and that, therefore, his notes and reports from
       examinations were discoverable). Also, there are instances where a defense attorney has an ethical duty to produce evidence to
       the State. See Henderson v. State, 962 S.W.2d 544 (Tex. Crim. App. 1997) (holding that—even though defendant had admitted to
       police that kidnapped child was already dead—trial court could compel defense counsel to produce map identifying the location
       of the child’s body created by defendant for her attorneys because attorney-client privilege must yield to policy interests behind
       ethical rule requiring disclosure of confidential communications necessary to prevent death or serious bodily injury of another
       person).

9      By contrast, Rule 16(b)(1) of the Federal Rules of Criminal Procedure provides for reciprocal discovery to the government:
         (b) Defendant’s Disclosure.
            (1) Information Subject to Disclosure.
            (A) Documents and Objects. If a defendant requests disclosure under Rule 16(a)(1)(E) [requiring production of documents
            and objects by government upon request] and the government complies, then the defendant must permit the government,
            upon request, to inspect and to copy or photograph books, papers, documents, data, photographs, tangible objects,
            buildings or places, or copies or portions of any of these items if: (i) the item is within the defendant’s possession, custody,
            or control; and (ii) the defendant intends to use the item in the defendant’s case-in-chief at trial.
       Fed. R. Crim. Proc. Ann. 16(b)(1). No such right of reciprocal discovery exists in the Texas Code of Criminal Procedure.

10     This interpretation would also create an internal conflict between the defense attorney’s duty to protect his client’s defense
       strategy from disclosure and the defense attorney’s own interest in receiving compensation. To fully protect his client’s interest,
       the attorney would put little to no detail in his billing records, but to demonstrate that his charges are reasonable and necessary,
       he would need to put more detail. This conflict furthers neither the purposes behind indigent defense nor the need to avoid
       payment of excessive fees.

11     See United States v. Meriwether, 486 F.2d 498, 506–07 (5th Cir. 1973) (noting that Rule 17(b) of the Federal Rules of Criminal
       Procedure specifically allows ex parte procedure for indigent defendants to obtain witness subpoenas because “serious equal
       protection questions are raised” “if an indigent defendant’s case [is] to be subjected to pre-trial scrutiny by the prosecutor, while
       the monied defendant is able to proceed without such scrutiny”); see also Williams v. State, 958 S.W.2d 186, 193 (Tex. Crim. App.

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       1997) (holding that, “if an indigent defendant is not entitled to an ex parte hearing on his Ake motion, he is forced to choose
       between either foregoing the appointment of an expert disclosing to the State in some detail his defensive theories about
       weaknesses in the State’s case” and that this result “is contrary to Ake’s concern that an indigent defendant who is entitled to
       expert assistance have ‘meaningful access to justice,’ and undermines the work product doctrine”).

12     See Reese v. State, 772 S.W.2d 288, 290 (Tex. App.—Waco 1989, pet. ref’d) (holding that, “when a rule may be fairly given two
       interpretations, one of which results in its validity, a court must presume that the enacting authority did not intend to adopt an
       invalid rule, and shall interpret it so that it will be valid and constitutional”).

13     To the extent the State argues that its intrusion was not purposeful because the records were on file with the district clerk, we
       previously noted that a purposeful intrusion can occur where the State exploits an opportunity to circumvent the attorney-client
       relationship even if the State did not create the opportunity itself. Moulton, 474 U.S. at 176, 106 S.Ct. 477. We also cited to
       Shillinger as an example of how a purposeful intrusion can occur through the State’s exploitation of an opportunity to circumvent
       the attorney-client relationship not of its own making. Shillinger, 70 F.3d at 1134. In Shillinger, the defendant,
          Haworth[,] was unable to make bail, [and] he remained in jail before his trial. When the trial date approached, Haworth’s
          attorney arranged to hold several preparatory sessions with Haworth in the trial courtroom. Because Haworth was in custody,
          these pretrial preparatory sessions were held on the condition that a deputy sheriff would be present at all times. Haworth’s
          attorney paid the deputy overtime wages for his services; he also allegedly instructed the deputy to consider himself an
          employee of defense counsel during the preparatory sessions and that “none of this goes out of this room,” although the
          prosecutor denied there was such an understanding.
       Id. At trial, when the prosecutor began cross-examining Haworth about information discussed during the preparatory sessions,
       “it became apparent to Haworth’s defense counsel that the prosecutor had learned not only about Haworth’s weekend trial
       preparation sessions with defense counsel, but also about the substance of some of the conversations between Haworth and
       defense counsel during those sessions.” Id. (quoting Haworth v. State, 840 P.2d 912, 913 (Wyo. 1992) ). The Court of Appeals
       then noted that “[t]he prosecutor admitted at this [in-chambers] conference that his knowledge of the preparatory sessions was
       acquired through a conversation with the deputy that was initiated by the prosecutor.” Id. at 1135. The Court of Appeals
       concluded,
          This is not a case in which the State’s interest in effective law enforcement is at issue. Rather, this is a case in which the
          prosecutor, by his own admission, proceeded for the purpose of determining the substance of Haworth’s conversations with
          his attorney, and attorney-client communications were actually disclosed. This sort of purposeful intrusion on the
          attorney-client relationship strikes at the center of the protections afforded by the Sixth Amendment and made applicable to
          the States through the Fourteenth Amendment.
       Id. at 1141. Although the prosecutor did not create the opportunity for disclosure of the privileged information, he exploited that
       opportunity by inquiring of the deputy sheriff what was said during the preparatory sessions.
       Likewise, “[t]his is not a case in which the state’s interest in effective law enforcement is at issue.” Id. Nor is it a case where the
       State created the opportunity to discover Morrison’s confidential communications with her defense counsel or his attorney work
       product contained in the billing records. “Rather, this is a case in which the prosecutor, by his own admission,” purposefully
       acquired that information from the district clerk and then purposefully reviewed it to determine what information was present
       so that he could use it against her at trial. Id. Accordingly, the State purposefully intruded into Morrison’s attorney-client
       relationship by exploiting the opportunity to discover her confidential communications and attorney work product contained in
       the billing records.

14     It could be forcefully argued that, upon discovering their public disclosure, the State not only has a duty to refrain from reviewing
       such information, but also has an affirmative duty to secure the information. For example, in the following reported state and
       federal cases involving the interception of documents containing privileged attorney-client information, prosecutors took
       significant, affirmative steps to protect the information once they found that it was in their possession: Woodruff v. State, 330
       S.W.3d 709, 725 (Tex. App.—Texarkana 2010, pet. ref’d) (local district attorney’s office recused itself, the trial court appointed
       the Texas Attorney General as a special prosecutor, and “instructed the Texas Attorney General’s Office to ‘have no contact with
       the Hunt County District Attorney concerning the case until further order of the Court,’ ” and “the trial court requested a visiting
       judge be appointed to ‘ensure any suppressed evidence is not transmitted from the District Attorney to the Attorney General’ ”);
       State v. Bain, 292 Neb. 398, 872 N.W.2d 777 (2016) (after first defense counsel was hired by the district attorney prosecuting
       case, district attorney withdrew and attorney general was appointed; when assistant attorney general found confidential
       communications between defendant and his former counsel in the State’s file, he “sealed the confidential documents in a
       tamper-proof envelope so that no one else could see them, and he asked the court to keep them sealed;” then attorney general
       moved “to withdraw as prosecutors due to a conflict of interest”); United States v. Neill, 952 F.Supp. 834, 836–37 (D.D.C. 1997)
       (in executing search warrant for a law office, “FBI agents attorneys were directed to serve as Principal Legal Advisors (PLA’s) on
       site to review all potentially privileged documents prior to seizure,” the “PLA then reviewed each document for which counsel

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       claimed privilege seizing some and returning others to counsel”; then FBI “taint team” was created to review the materials
       “meaning that their actions would be ‘walled off’ from the prosecution team thereby ensuring that the prosecution team
       remained free of the ‘taint’ arising from exposure to potentially privileged material”); see also State v. Lenarz, 301 Conn. 417, 22
       A.3d 536, 550 n.14 (2011) (“[W]e do not believe that it imposes an unreasonable burden on the State to take steps to insulate a
       prosecutor who has knowledge of the defendant’s confidential trial strategy from involvement in the case.... If the government
       made no such efforts, its conduct can hardly be characterized as blameless.”). Nevertheless, we need not consider whether the
       State’s duty goes beyond merely refraining from reviewing the information because in this case, the State not only failed to
       secure the information, it reviewed the records before trial and then used the information from those records against Morrison
       at trial.

15     See supra note 6.


16     It is not clear that a harmless-error analysis as defined by the Court of Criminal Appeals is required once prejudice has been
       established under Weatherford’s three-part test. See Weatherford, 429 U.S. at 552, 97 S.Ct. 837. On the one hand, it seems that,
       once the Weatherford test has been satisfied, the Court of Criminal Appeals’ four-part, harmless error test is automatically
       satisfied as well. For example, an appellate court does not perform a separate harmless error analysis when a defendant
       establishes “a reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding would have been
       different.” Strickland v. Washington, 466 U.S. 668, 694, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) (adopting the standard for
       prejudice in ineffective assistance of counsel used “in the test for materiality of exculpatory information not disclosed to the
       defense by the prosecution,” and “the test for materiality of testimony made unavailable to the defense by Government
       deportation of a witness”) (citing United States v. Agurs, 427 U.S. 97, 104, 112–13, 96 S.Ct. 2392, 49 L.Ed.2d 342 (1976); United
       States v. Valenzuela-Bernal, 458 U.S. 858, 872–74, 102 S.Ct. 3440, 73 L.Ed.2d 1193 (1982) ). Therefore, it would follow that a
       harmless-error analysis would not apply to a State-intrusion Sixth Amendment violation either. On the other hand, the Supreme
       Court did not discuss the standard of prejudice in Weatherford because it did not find prejudice. In the absence of a clear
       discussion on the matter by the Supreme Court, it could be argued that, even if the Weatherford test is satisfied, it merely
       constitutes non-structural, constitutional error subject to a harmless-error analysis.
       In Murphy, the Court of Criminal Appeals only held that prejudice must be shown because “only errors that the Supreme Court
       has designated as ‘structural’ are categorically immune from harmless error analysis;” it did not hold that, once prejudice is
       shown, the appellate court must then determine whether the error was harmless. Murphy, 112 S.W.3d at 602. However, in
       Murphy, the Court of Criminal Appeals did not find prejudice; therefore, it did not reach the issue of whether satisfying the
       Weatherford three-part test automatically satisfies the Court of Criminal Appeals four-part, harmless-error test. A Sixth
       Amendment violation is a constitutional error, and Rule 44.2(a) of the Texas Rules of Appellate Procedure applies to
       “constitutional error that is subject to harmless error review.” Tex. R. App. P. 44.2(a). We are aware of no case holding that a
       State-intrusion Sixth Amendment violation is structural error. Accordingly, it is not clear whether satisfying the Weatherford
       three-part test for prejudice automatically satisfies the four-part harmless error test or not. In the absence of clear authority on
       this issue, we will evaluate the four-part, harmless-error test as well.

17     See Hensarling v. State, 829 S.W.2d 168, 173 (Tex. Crim. App. 1992) (Maloney, J., dissenting) (asserting that error is fundamental
       when “the alleged error is such that it calls into question whether the accused received a fair and impartial trial and ‘implicates
       the due course of law clause of the Texas Constitution.’ ”); Smith v. State, 463 S.W.3d 890, 901 (Tex. Crim. App. 2015) (Yeary, J.,
       dissenting) (asserting that, “[i]f ... Appellant’s claim really does fall within Marin’s category one—if society simply will not tolerate
       a conviction under a penal statute that has been judicially declared unconstitutional on its face—then Appellant will be permitted
       to raise his complaint for the first time in ... habeas corpus proceedings”); Ieppert v. State, 908 S.W.2d 217, 220 (Tex. Crim. App.
       1995) (asserting that fundamental error was shown because “the constitutional prohibition against ex post facto legislation is not
       an individual right at all ...” and “the people may not waive this prohibition, either individually or collectively, any more than they
       may consent to be imprisoned for conduct which does not constitute a crime”); Aldrich v. State, 104 S.W.3d 890, 896 (Tex. Crim.
       App. 2003) (Holcomb, J., dissenting) (asserting that fundamental error was shown because “the ... errors ... were ... of the type
       that could generate public disrespect or suspicion regarding the fairness and accuracy of judicial proceedings”); Saldano v. State,
       70 S.W.3d 873, 893–94 (Tex. Crim. App. 2002) (Johnson, J., dissenting) (asserting that error was fundamental where the
       testimony in question “violated some of the most fundamental principles of our legal system” and that “it is impossible to
       determine to what extent” the error “influenc[ed] the deliberations of a given jury”); Rose v. State, 752 S.W.2d 529, 537 (Tex.
       Crim. App. 1987), abrogated by Karenev v. State, 281 S.W.3d 428 (Tex. Crim. App. 2009) (asserting that fundamental error existed
       because an erroneous parole law instruction “is virtually immune from challenge,” that its effect on jury “can never properly be
       discovered and adequately determined,” and that “[t]he risk that punishment will be based on extraneous considerations is
       intolerable in a society that constitutionally demands concepts of fundamental fairness be honored in its criminal justice
       system”); Karenev, 281 S.W.3d at 439–40 (Cochran, J., concurring) (reasoning that error in convicting appellant under a penal

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       statute that had previously been declared unconstitutional by the Court of Criminal Appeals was fundamental because the “main
       reasons for requiring a contemporaneous objection in the trial court” do not apply); G.A.O. v. State, 854 S.W.2d 710, 715 (Tex.
       App.—San Antonio 1993, no pet.) (asserting that “[f]undamental error is error that directly and adversely affects the interests of
       the public generally, as such interest is declared in statutes or the constitutions of the State”).
       In Blue v. State, a plurality of the Court of Criminal Appeals found that “appellant’s failure to object to the trial judge’s comments
       [indicating his disapproval of the appellant’s refusal to accept the State’s plea offer] did not waive error.” Blue v. State, 41 S.W.3d
       129, 133 (Tex. Crim. App. 2000). Yet, the judges disagreed as to the basis for that decision. See 43A George A. Dix, et al., Texas
       Practice Series: Criminal Practice & Procedure, § 53:135 (3d ed. 2011). The judges in the plurality decision held that the error was
       fundamental because the trial judge’s comments “tainted appellant’s presumption of innocence in front of the venire.” Blue, 41
       S.W.3d at 132 (Johnson, J., plurality opinion announcing the judgment of the trial court). Judge Mansfield concurred, but held
       that the error was fundamental because it “denied appellant his constitutional right to a fair trial.” Id. at 135 (Mansfield, J.,
       concurring). Judge Keasler concurred but asserted that the error was fundamental because it violated appellant’s right to an
       impartial judge. Id. at 138 (Keasler, J., concurring). By contrast, the dissenting judges suggested that there is no need to decide
       whether an error is fundamental, arguing “that defendant’s right to effective assistance of counsel obviates the need in many
       situations for the courts to exercise whatever power they have to rely on fundamental error.” 43A George A. Dix, et al., Texas
       Practice Series: Criminal Practice & Procedure, § 53:135. The dissent continued, “If a contention not raised in the trial court has
       such clear merit and is so closely tied to the defendant’s right to an accurate outcome, defense counsel’s failure to raise it
       constitutes ineffective assistance of counsel tainting the conviction.” Id. (analyzing Blue, 41 S.W.3d at 140 (Keller, J., dissenting) ).
       In Unkart v. State, the Court of Criminal Appeals held that “the Blue decision has no precedential value [but that t]he opinions in
       the Blue case may nevertheless be considered for any persuasive value they might have, in the same way as any other opinion
       that does not command a majority of this Court, such as a concurring opinion.” Unkart v. State, 400 S.W.3d 94, 101 (Tex. Crim.
       App. 2013).

18     Because there was no waiver in writing or on the record in open court in this case, we do not attempt to distinguish between
       non-waivable and waivable-only rights.

19     Even if the State’s purposeful intrusion into the defendant’s attorney-client relationship is not a fundamental error, we can
       perceive no strategic reason why any reasonable defense counsel would fail to make that objection. Because the intrusion
       “circumvents and thereby dilutes the protection afforded by the right to counsel,” Moulton, 474 U.S. at 171, 106 S.Ct. 477, any
       conceivable benefit from not objecting is outweighed by the damage to the right to counsel. This brings us to Morrison’s second
       point of error.

20     It is true that Article 26.05 requires that attorney fee requests be itemized, but it does not require disclosure of confidential client
       communications or attorney defense strategy. We can discern no strategic reason why an attorney would disclose such detail in a
       request for payment.

21     See supra note 6.


22     Rule 803(24) of the Texas Rules of Evidence, provides,
         The following are not excluded by the rule against hearsay, regardless of whether the declarant is available as a witness: ... (24)
         Statement Against Interest. A statement that: (A) a reasonable person in the declarant’s position would have made only if the
         person believed it to be true because, when made, it ... expose[d] the declarant to ... criminal liability ...; and (B) ... if it is
         offered in a criminal case as one that tends to expose the declarant to criminal liability.
       Tex. R. Evid. 803(24).

23     Logically, if the State acquires beneficial information from billing records by virtue of a defense attorney’s deficient performance,
       then the defense counsel’s deficient performance would also prejudice the defendant if, at trial, (1) any of “the State’s evidence
       originated in the [intrusion],” (2) the information obtained from the records was “used in any other way to the substantial
       detriment of [the defendant],” or (3) the State learned details about the defendant’s trial preparations from the records.
       Weatherford, 429 U.S. at 552, 97 S.Ct. 837.

24     See supra note 2.




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